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11
     MILLERCOORS LLC
12
13                           UNITED STATES DISTRICT COURT

14                      SOUTHERN DISTRICT OF CALIFORNIA

15
                                          Case No. 18-CV-0331-BEN-JMA
16    STONE BREWING CO.,
      LLC,
17
           Plaintiff,
18
                                          District Judge: Hon. Roger T.
                       v.                 Benitez
19
      MOLSON COORS BREWING                Magistrate Judge: Hon. Jan M.
20
      COMPANY, MILLERCOORS                Adler
21
      LLC, and DOES 1 through 25,         MILLERCOORS LLC’S ANSWER
22    inclusive,                          TO COMPLAINT AND
23          Defendants.                   COUNTERCLAIMS
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25
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                                           1
     ActiveUS 167210176v.1
                                COUNTERCLAIMS AND ANSWER
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 1         Defendant MillerCoors LLC (“MillerCoors”) hereby submits this
 2   Answer to the Complaint filed by plaintiff Stone Brewing Co., LLC
 3   (“Stone Brewing”) and Counterclaims.
 4                              COUNTERCLAIMS
 5         1.     MillerCoors is responsible for some of America’s most
 6   popular beers, such as Coors Light, Miller Lite, Blue Moon, and
 7   Keystone Light. Plaintiff Stone Brewing, founded in 1996 as Koochen
 8   Vagner’s Brewing Company, is now one of the largest beer
 9   manufacturers in the U.S. with operations in Richmond, Virginia;
10   Berlin, Germany; and Escondido, California. Stone Brewing alleges the
11   2017 visual refresh of the cans, outer packaging, and advertising for
12   MillerCoors’ Keystone beer infringes Stone Brewing’s STONE
13   trademark and is likely to confuse customers about the source of
14   Keystone beer.
15         2.     While Stone Brewing portrays this as a trademark case
16   involving MillerCoors’ “verbatim copy[ing]” of the STONE mark, what
17   Stone Brewing actually objects to is MillerCoors’ use of the KEYSTONE
18   mark on Keystone cans and outer packaging. Stone Brewing’s
19   arguments depend entirely on disassembling MillerCoors’ KEYSTONE
20   trademark, focusing only on the “STONE” portion of the mark while
21   ignoring the “KEY” portion that is prominently visible on both the cans
22   and outer packaging.
23         3.     Stone Brewing’s claims are misleading and ultimately
24   meritless when Stone Brewing’s rhetoric is separated from the facts.
25   Stone Brewing’s Complaint makes grandiose allegations, but leaves out
26   most of the facts relevant to this dispute, including:
27              • Every can and every package of Keystone beer is labeled
28                KEYSTONE;
                                      2
                           COUNTERCLAIMS AND ANSWER
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 1              • Every Keystone can and every package displays the COORS
 2                BREWING COMPANY mark;
 3
                     2017 Keystone Light Can and Outer Package
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11              • MillerCoors began using and obtained a federal trademark
12                registration for KEYSTONE nearly a decade before Stone
13                Brewing registered STONE;
14              • Keystone and its customers have long referred to Keystone
15                as ‘STONE and cans of Keystone as ‘STONES;
16              • MillerCoors’ use of STONE and STONES in advertising
17                predates Stone Brewing’s use; and
18              • Stone Brewing raised these same exact issues to MillerCoors
19                in 2010, but, in spite of MillerCoors’ rejection of Stone
20                Brewing’s complaints at that time and continued use of
21                STONE and STONES thereafter, Stone Brewing waited
22                eight years to file this lawsuit.
23         4.     Stone Brewing’s Complaint also relies on misleading images
24   to support its “verbatim copy” claim and in an attempt to isolate the
25   “STONE” from “KEYSTONE.” For example, page 11 of the Complaint
26   includes purported images of Keystone cans labeled “Re-Branded Can”
27   and “Keystone’s New Can.” These images are supposed to demonstrate
28   that MillerCoors has copied the “STONE” name. But neither photo is a
                                       3
                            COUNTERCLAIMS AND ANSWER
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 1   true image of an actual can of Keystone beer. MillerCoors has not
 2   “abandoned the KEYSTONE mark . . . in favor of a brand centered
 3   entirely on one word: ‘STONE.’” Instead, Stone Brewing has chosen to
 4   only include images in its Complaint that misrepresent the look of
 5   Keystone cans and outer packaging. MillerCoors has not removed the
 6   “KEY” from its KEYSTONE trademark, and that is clear simply by
 7   observing true images of the actual Keystone can and outer packaging:
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                                 Keystone Light Can
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                           COUNTERCLAIMS AND ANSWER
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 2                   Keystone Light Can Label Artwork
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13                Keystone Light Outer Packaging Artwork
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                           COUNTERCLAIMS AND ANSWER
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 1         5.     Stone Brewing’s misleading and meritless claims show this
 2   case is not actually about trademarks. This case is not about “verbatim
 3   copy[ing],” but Stone Brewing’s struggle with its new identity as a
 4   global mega-craft beer manufacturer. Gone is the small Stone Brewing
 5   of old. Today, Stone Brewing is one of the largest brewers in the United
 6   States, and its beer is sold on five continents. In the last few years,
 7   Stone Brewing has aggressively expanded by opening breweries in
 8   Virginia and Berlin, Germany. A private equity firm recently invested
 9   $90 million in a Stone Brewing venture. In 2016, the famed
10   brewmaster behind Stone Brewing’s beers, Mitch Steele, quit the
11   company, explaining that Stone Brewing had become too big: “I wasn’t
12   planning on leaving, but you know, as these breweries get bigger and
13   bigger, you struggle with the fact that you get further removed from the
14   brewing process. You become a manager, you’re a strategist; you’re
15   doing practically everything but brewing.” (https://www.
16   pastemaazine.com/articles/2017/12/mitch-steele-and-the-new-realm-of-
17   ipa.html).
18         6.     Stone Brewing’s new size presents a problem for its
19   executives. What does a company that was built around its opposition
20   to “Big Beer” do when it becomes “Big Beer?” Stone Brewing’s solution
21   appears to be to file this meritless lawsuit against MillerCoors. Stone
22   Brewing hopes this lawsuit will help it stand out in an increasingly
23   crowded craft beer market. Stone Brewing also hopes this lawsuit can
24   perpetuate the idea of a “War” between “Big Beer” and “Craft Beer,”
25   and position itself in the eyes of its customers not as “Big Beer,” but a
26   rebel against “Big Beer.” Stone Brewing has heavily promoted this
27   lawsuit, publishing an attack video on YouTube simultaneously with
28   filing its Complaint, and launching an aggressive social media
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                           COUNTERCLAIMS AND ANSWER
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 1   campaign asking its followers to tweet #TrueStonevsKeystone. In
 2   reality, there is no actual “War” between these beer companies except in
 3   the minds of Stone Brewing’s CEO and marketing staff. People just
 4   want to drink beer. Some people prefer craft beer like Stone IPA,
 5   MillerCoors’ Belgian White Blue Moon, or MillerCoors’ San-Diego-
 6   brewed Saint Archer IPA. Other people reach for an economy lager like
 7   Keystone Light. But there is no confusion between these very different
 8   types of beers and the different consumers who drink them.
 9         7.    Ultimately, Stone Brewing’s actual claims in its Complaint
10   lack substance when they are separated from the rhetoric. Stone
11   Brewing claims Keystone cans and outer packaging “verbatim copy” its
12   STONE mark. However, each and every Keystone can and package
13   actually says KEYSTONE and includes the COORS BREWING
14   COMPANY mark. This Court cannot allow a plaintiff to enjoin a
15   defendant from using its own trademark simply because the plaintiff,
16   nearly a decade after the defendant’s first use, adopted a somewhat
17   similar trademark.
18         8.    Stone Brewing cannot even assert these claims today. In
19   April 2010, Stone Brewing’s attorneys objected to MillerCoors’ use of
20   “STONE, STONES, and HOLD MY STONES,” alleging they were likely
21   to cause consumer confusion. But after MillerCoors refuted Stone
22   Brewing’s allegations, Stone Brewing took no further action until filing
23   this lawsuit eight years later. Stone Brewing’s claims are clearly
24   barred by laches. MillerCoors reasonably believed this dispute was long
25   over, investing heavily in its Keystone marketing, including continued
26   use and promotion of STONE and STONES, and it cannot be dragged
27   into court eight years later when Stone Brewing finally decided to file
28   this lawsuit.
                                      7
                           COUNTERCLAIMS AND ANSWER
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 1         9.    Nor would any beer drinker actually be confused between
 2   these two beers. Keystone and Stone Brewing’s beers are not targeted
 3   at the same consumers. Keystone is an American-Style Light Lager
 4   and marketed to beer drinkers looking for a light, drinkable brew.
 5   Stone Brewing targets its ales to beer drinkers looking for a much
 6   heavier, more hoppy beverage, with a higher ABV. Keystone is
 7   primarily sold in bright blue 15-can and 30-can cases that include a
 8   Colorado mountain image. Stone Brewing beers are primarily sold in
 9   bottles and on draft, and its trade dress has a dark medieval theme
10   centered around a devilish gargoyle character. To the extent they are
11   sold in the same outlets at all, the two beers are displayed and sold in
12   different parts of grocery and liquor stores. And all the purported
13   “misleading” advertising images for Keystone products that Stone
14   Brewing includes in its Complaint clearly identify the beer as Keystone
15   Light.
16         10.   But if there is any confusion between these two beers,
17   MillerCoors’ rights are superior to Stone Brewing’s. MillerCoors used
18   KEYSTONE, STONE, and STONES to sell Keystone beer prior to Stone
19   Brewing’s first use of STONE. Since 2010, when Stone Brewing
20   indisputably was aware of such use, MillerCoors has continued to use
21   these terms to market its beer without any action by Stone Brewing.
22   Therefore, MillerCoors asserts counterclaims against Stone Brewing
23   seeking a declaration of MillerCoors’ long held prior rights to use
24   STONE and STONES in connection with its marketing and sale of
25   Keystone.
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                           COUNTERCLAIMS AND ANSWER
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 1                                  The Parties
 2         11.   Counter-Plaintiff MillerCoors LLC is a Delaware limited
 3   liability company with its principal place of business in Chicago,
 4   Illinois.
 5         12.   Counter-Defendant Stone Brewing Co., LLC is a California
 6   limited liability company with its principal place of business in
 7   Escondido, California.
 8                            Jurisdiction and Venue
 9         13.   This action arises and is brought under the Lanham Act, 15
10   U.S.C. §§ 1050, et seq., and the Declaratory Judgment Act, 28 U.S.C.
11   §2201-2202.
12         14.   This Court has subject matter jurisdiction over these claims
13   pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338.
14         15.   This Court also has supplemental jurisdiction over
15   MillerCoors’ counterclaims because it forms part of the same case or
16   controversy as Stone Brewing’s claims, and to the extent Stone
17   Brewing’s claims are brought under 28 U.S.C. §§ 1331 and 1338.
18         16.   This Court has personal jurisdiction over Stone Brewing
19   because Stone Brewing has already submitted to the jurisdiction of this
20   Court by initiating this action.
21         17.   Venue in the Southern District of California is appropriate
22   under 28 U.S.C. §§ 1391(b)(1) and 1391(d) because Stone Brewing
23   resides in the judicial district and Stone Brewing chose to initiate an
24   action in this forum.
25                              Factual Background
26         A.    Coors Creates Keystone in the Late 1980s
27         18.   Coors Brewing Company (“Coors”) was founded in 1873, and
28   not unlike Stone Brewing, by two men with a passion for beer. When
                                        9
                             COUNTERCLAIMS AND ANSWER
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 1    Adolph Coors Sr., and Jacob Schueler opened their brewery in Golden,
 2    Colorado, the United States was experiencing its first beer boom. In
 3    1873, the U.S. had 4,131 breweries, a number that would not be
 4    surpassed until 2015. Nonetheless, Coors stood out from the crowd.
 5    Coors beer won a national brewing competition at the Chicago World’s
 6    fair in 1893. Since then, Coors beer has stood the test of time, surviving
 7    prohibition and two world wars.
 8          19.   In the 1970s, popular demand for Coors beer reached cult
 9    levels. The New York Times called Coors “the most chic brew in the
10    country.” Paul Newman, Steve McQueen, and Keith Richards were
11    Coors drinkers and posed for photos with the beer. Bootleggers
12    reportedly smuggled Coors beer to the East Coast, where they charged
13    three times the Colorado retail price. Smokey and the Bandit, starring
14    Burt Reynolds and his Pontiac Trans Am, was a popular 70s film based
15    entirely around such cross-country Coors bootlegging. President Gerald
16    Ford was even rumored to have stocked Air Force One with Coors beer
17    to be flown back to the White House.
18          20.   In 1989, Coors launched Keystone beer, which is an
19    American-Style Light Lager. MillerCoors now sells three beers under
20    the Keystone brand: Keystone, Keystone Light, and Keystone Ice. From
21    the start, the brand was about delivering the greatest value and
22    ensuring everyone in America could afford to buy great beer. But Coors
23    did not skimp on taste. Keystone beer has won numerous awards for its
24    quality, including eight Great American Beer Festival medals in the
25    American-Style Light Lager category from 1991 to 2012.
26          21.   Also in 1989, Coors applied for the trademark KEYSTONE
27    for beer. The United States Patent and Trademark Office approved
28    Coors’ KEYSTONE trademark on July 14, 1991, several years before
                                      10
                           COUNTERCLAIMS AND ANSWER
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 1    Stone Brewing decided to name themselves Stone, and nearly a decade
 2    before Stone Brewing registered the trademark STONE. Indeed, Coors’
 3    KEYSTONE trademark reached incontestable status before Stone
 4    Brewing sold its first STONE beer.
 5          B.    Early Keystone Marketing Campaigns
 6          22.   In 1989, Coors also launched a national marketing campaign
 7    to advertise Keystone beer. Coors ran national television commercials
 8    and radio ads in 1989 promoting Keystone as having a “Bottled Beer
 9    Taste in a Can.” (https:// www.youtube.com/watch? v=Y7E9dVC8vZM).
10    Between 1995 and 2001, Coors created a national campaign
11    emphasizing Keystone’s smooth taste. Coors launched memorable
12    “Bitter Beer Face” television ads describing Keystone as “America’s
13    Least Bitter Beer.” (https://www.youtube.com/watch?v=BOP5PBIghhc).
14          23.   Keystone television ads did not go unnoticed by Stone
15    Brewing’s co-founder and longtime CEO Greg Koch. Keystone’s ads
16    may have even motivated the foundation of Stone Brewing. Greg Koch
17    and Stone Brewing wanted to introduce drinkers to a more bitter style
18    of beer, and was adamant that it was shameful to prefer Keystone’s
19    smooth taste over his “sophisticated” beer. Koch said in an interview
20    about Keystone’s 1995 “Bitter Beer Face” ads: “Basically it was a
21    misinformation campaign. It was designed to tell the American public
22    ‘You’re not sophisticated enough.’ Let’s try to tell you that you don’t
23    want better beer. It’s really a form of oppression. There’s just nothing
24    short of it.” (https://oct.co/essays/drew-careys-buzz-beer-bitter-beer-face-
25    and-first-craft-beer-bubble).
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                           COUNTERCLAIMS AND ANSWER
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 1          Coors Embraces ‘STONES Nickname Starting in the 1990s
 2
            24.   Despite Greg Koch’s disdain, Keystone beer achieved a loyal
 3
      following among beer drinkers. Some Keystone beer drinkers were
 4
      young legal-drinking-age adults who were just starting to drink beer.
 5
      Other Keystone beer drinkers were established adults who wanted to
 6
      relax with an easy-to-drink beer after a hard day’s work. Keystone beer
 7
      drinkers were savvy customers. They preferred Keystone beer for its
 8
      no-fuss smooth taste that was purchased at a fraction of the prices
 9
      charged by high-end brewers like Stone Brewing.
10
            25.   Keystone beer drinkers have such an affinity for the brand
11
      they began to nickname cans of Keystone ‘STONES. The ‘STONES
12
      nickname was more than just a shortened form of “Keystone.” It
13
      captured the no-nonsense approach of Keystone customers, who looked
14
      forward to the end of the day when they could throw back some
15
      ‘STONES.
16
            26.   Stone Brewing’s Greg Koch has even acknowledged on
17
      twitter that Keystone customers have long referred to Keystone as
18
      ‘STONES:
19                       March 16, 2018 Greg Koch Tweet
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            27.   But Keystone’s customers were not the only ones who
26
      referred to Keystone as ‘STONES. Starting in at least 1995, Coors
27
      embraced the ‘STONES nickname by putting ‘STONES on Keystone
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                                      12
                           COUNTERCLAIMS AND ANSWER
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 1    outer packaging. A case of 30 Keystone beers became a case of 30
 2    ‘STONES:
 3
 4                1995 Keystone Light Outer Packaging (folded flat)
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19                               1995 Date Closeup
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27          28.    Coors also used STONE and STONES in advertisements
28    promoting Keystone. Upon information and belief, Coors used the term
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                           COUNTERCLAIMS AND ANSWER
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 1    ‘STONE in Keystone advertisements as early as 1992–1993. By the
 2    mid-1990s, the ‘STONE nickname was clearly present in Keystone ads:
 3
                             July 1996 Newspaper Ad
 4
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15          29.   Therefore, Coors’ use of STONE and STONES predates
16    Stone Brewing’s use of STONE. When co-founders Greg Koch and
17    Steve Wagner decided to adopt the moniker Stone Brewing in 1996,
18    Coors was already selling Keystone beer nationally in cases labeled
19    STONES and running marketing campaigns advertising Keystone beer
20    as STONE. MillerCoors did not “verbatim copy” Stone Brewing’s
21    trademark. If anything, it is much more likely that Stone Brewing
22    copied the STONE name from Coors, since Keystone beer was already
23    advertised as such in the market.
24          30.   Since at least 1995, Coors (and later MillerCoors, after Coors
25    became part of it in 2008) has never stopped using STONE and
26    STONES to advertise Keystone beer. Keystone outer packaging has
27    been refreshed from time to time, but STONES has always appeared on
28    the box. Advertising campaigns for Keystone have changed over the
                                      14
                           COUNTERCLAIMS AND ANSWER
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 1    years, but STONE and STONES have been prominently featured
 2    throughout. Stone Brewing complains about MillerCoors’ current cans,
 3    outer packaging, and advertising for Keystone. But the current
 4    Keystone visuals are simply a refresh of Keystone’s long embrace of the
 5    nicknames ‘STONES and ‘STONE.
 6          C.    Stone Brewing Objects to MillerCoors’ use of “STONE,
 7                STONES, and HOLD MY STONES” in 2010

 8          31.   In 2010, Stone Brewing knew about and objected to
 9    MillerCoors’ use of STONE and STONES to sell Keystone beer. On
10    March 30, 2010, MillerCoors applied for the trademark HOLD MY
11    STONES with the USPTO.
12          32.   On April 22, 2010, Stone Brewing’s attorney Kent Walker
13    sent a cease and desist letter to MillerCoors and objected to the
14    registration of HOLD MY STONES and MillerCoors’ use of STONE and
15    STONES. Mr. Walker’s allegations in his letter are the same
16    allegations Stone Brewing raises in its Complaint today. He alleged
17    that “it had recently come to [Stone Brewing’s] attention that
18    MillerCoors LLC is marketing its Keystone product under the brands
19    STONE, STONES, and HOLD MY STONES.” He said MillerCoors’ use
20    of these terms was “likely to cause confusion in the trade and among the
21    purchasing public and harm . . . Stone’s proprietary brand.”
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                           COUNTERCLAIMS AND ANSWER
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 1
           April 22, 2010 Letter from Stone Brewing’s Attorney
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19          33.   MillerCoors’ lawyer responded by letter on May 10, 2010.
20    MillerCoors disputed that there was any confusion between Keystone
21    and Stone Brewing’s beer, and informed Stone Brewing of MillerCoors’
22    (and Coors’) long history of using STONE and STONES that likely
23    predated Stone Brewing’s use. MillerCoors made clear to Stone
24    Brewing its intention to continue using STONE and STONES in
25    advertising campaigns for Keystone.
26          34.   Stone Brewing did not object to MillerCoors’ registration of
27    HOLD MY STONES within 60 days of publication at the Trademark
28    Trial and Appeal Board (“TTAB”). Instead, on August 5, 2010, Stone
                                      16
                           COUNTERCLAIMS AND ANSWER
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 1    Brewing filed a request for a 30-day extension to oppose the
 2    registration. On September 10, 2010 Stone Brewing sought another 60-
 3    day extension to oppose MillerCoors’ registration explaining that it
 4    needed “additional time to continue discussions with applicant to
 5    attempt to resolve the issues.”
 6          35.   On November 8, 2010, Stone Brewing filed a third extension
 7    of time to oppose MillerCoors’ HOLD MY STONES mark with the
 8    TTAB. The TTAB denied Stone Brewing’s third extension, and Stone
 9    Brewing’s only potential remedies were to seek cancellation of
10    MillerCoors’ marks or sue for trademark infringement. It did neither.
11    On November 9, 2010, MillerCoors informed Stone Brewing that it was
12    abandoning registration of the HOLD MY STONE trademark but it
13    would not agree to modify its marketing campaigns for Keystone or
14    otherwise stop its use of STONE, STONES, or HOLD MY STONES.
15    Instead, MillerCoors referred Stone Brewing to its May 10, 2010 letter
16    that explained MillerCoors had long used these terms and that its use
17    did not infringe Stone Brewing’s trademark. Stone Brewing did not
18    voice any further objection—until it filed this lawsuit eight years later.
19          D.    From 2010 to 2017 Stone Brewing Does Not Oppose
20                MillerCoors’ Continued Use of ‘STONE and ‘STONES

21          36.   Given Stone Brewing’s lack of an objection, MillerCoors
22    reasonably believed this dispute ended in 2010 and that Stone Brewing
23    had accepted MillerCoors’ prior use and right to use STONE and
24    STONES with Keystone.
25          37.   MillerCoors has since heavily invested in multiple
26    marketing campaigns centered around the Keystone nicknames STONE
27    and STONES. MillerCoors went as far as to create an entire fictional
28    character for Keystone beer whose name was STONE. Keith Stone
                                      17
                           COUNTERCLAIMS AND ANSWER
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 1    became the beer’s ambassador, and he starred in TV commercials, print
 2    advertisements, on billboards, and on the internet and social media.
 3    His smooth-talking persona matched Keystone’s smooth taste, and he
 4    dished out life advice while always carrying a case of 30 ‘STONES.
 5
                        2011 Keith Stone point-of-sale ad
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15          38.   MillerCoors relied heavily on Keith Stone and the STONE
16    and STONES nickname in 2011 and 2012 to market Keystone beer.
17    Keith Stone wooed women with his dance moves at a roller rink in the
18    2011 TV commercial “Stones Must Roll.” (https://www.youtube.com
19    /watch?v=JfsnFI7vkPw). At the 2011 WWE wrestling event Capitol
20    Punishment, “the man, the myth, the always smooth legend, Keith
21    Stone” made a grand entrance to a roaring crowd while carrying 30
22    STONES on his shoulder. (https:// www. youtube.com/watch?v=1-
23    zBRlYXkKc). But many of Keith Stone’s Keystone ads are so old they
24    relied on references that now feel outdated. Keith Stone announced a
25    fictional presidential campaign in 2012—STONE 2012—where he
26    famously promised, “a STONE in every hand, [and] a taco in every pot.”
27    (https://www.youtube.com/watch?v=UEq2d7y1eLI). And when the
28    world did not end at the close of 2012 as the Mayans predicted, Keith
                                      18
                           COUNTERCLAIMS AND ANSWER
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 1    Stone was quick to call the Mayan calendar “weaksauce.” (https://
 2    www.youtube.com/watch?v=pGGinWbHY2E).
 3          39.   But MillerCoors used STONE and STONES in many other
 4    ways. In 2013, MillerCoors launched the ‘STONE HANDED GAMES
 5    promotion, which encouraged Keystone customers to reimagine
 6    Keystone packages as their favorite tailgate games, like cornhole and
 7    frisbee golf:
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20          40.   During the 2015 hunting season, MillerCoors launched the
21    HUNT FOR THE GREAT WHITE ‘STONE promotion. Keystone
22    customers bought specially marked cases of Keystone Light in hopes of
23    finding an elusive white can they could assemble into a beer can deer
24    head. During the summer of 2016, MillerCoors launched the ‘STONE
25    SPANGLED SUMMER promotion that asked beer drinkers to SALUTE
26    SUMMER WITH A ‘STONE.
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                           COUNTERCLAIMS AND ANSWER
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 8          41.   These examples are just some of the ways MillerCoors
 9    continued to use the Keystone nickname ‘STONE or ‘STONES after
10    Stone Brewing’s objection in 2010. During this time, the word
11    ‘STONES also continued to appear on the outer packaging of Keystone
12    beer, letting every customer know the number of ‘STONES that were
13    inside. MillerCoors was continuing its long history of using STONE and
14    STONES to sell Keystone. But even if MillerCoors’ use of these terms
15    somehow conflicted with Stone Brewing’s STONE trademark, Stone
16    Brewing never did anything about it. Most people know that you lose
17    your right to enforce your trademark when you fail to protect it,
18    including Stone Brewing’s Greg Koch, who recently tweeted as much:
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                          March 16, 2018 Greg Koch Tweet
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                           COUNTERCLAIMS AND ANSWER
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 1          MillerCoors Refreshes Keystone Visuals
 2          42.   MillerCoors decided in the last few years it needed to refresh
 3    its economy beer portfolio to better compete with its true competitor,
 4    and largest beer company in the world, Anheuser-Busch InBev (“ABI”).
 5    MillerCoors directly competes with ABI in the economy and American-
 6    light lager beer segments. In the case of Keystone, MillerCoors’ focus
 7    was on updating the visuals so that it could better compete with its two
 8    competitor beers, ABI’s Busch Light and Natural Light.
 9          43.   Stone Brewing’s beers do not compete with Keystone Light
10    and did not factor into MillerCoors’ Keystone new visual campaign.
11    Keystone is an economy American-Style Light Lager. In Stone
12    Brewing’s YouTube video announcing this lawsuit, Greg Koch made
13    clear Stone Brewing would never make or sell a light beer. (https://
14    www. youtube.com/watch?v=s7zW4Dnb_7g). Stone Brewing almost
15    exclusively brews West Coast India Pale Ales, which are brewed to be
16    extremely hoppy with high International Bitterness Units (“IBUs”).
17    Keystone is brewed to be smooth with a never bitter taste and low
18    IBUs. Stone Brewing’s beers are sold as “craft beer,” which means they
19    are sold in different parts of grocery stores and liquor stores from
20    Keystone; Keystone is sold with other economy beer brands and
21    typically in packages of 30 cans or, more recently, 15 cans. Stone
22    Brewing’s beers are sold in smaller quantities, typically in a six-pack of
23    bottles. Stone Brewing also has a large draft business in bars, whereas
24    Keystone does not. Stone Brewing’s beers are typically sold at twice the
25    price of Keystone Light per ounce, if not more.
26          44.   While both beers are sold throughout the U.S., Keystone and
27    Stone Brewing’s beers are primarily sold in different geographical
28    regions. Stone Brewing sells most of its beers in California and on the
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                           COUNTERCLAIMS AND ANSWER
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 1    Pacific Coast. Keystone customers are mostly in the interior of the
 2    country, in states like Texas. The available customer data reveals that
 3    it is nearly impossible to find a consumer who purchased both Keystone
 4    Light and one of Stone Brewing’s beers in the last year.
 5          45.   Keystone Light’s primary competitors are ABI’s Busch Light
 6    and Natural Light beers. Keystone sales have expanded in 2017 and
 7    2018 because Keystone Light has won market share away from Busch
 8    Light and Natural Light. Keystone’s success is the result of two factors.
 9          46.   First, in January 2017, MillerCoors began replacing
10    Keystone Light 12-packs with 15-packs at nearly the same suggested
11    retail price. The 15-packs were extremely popular; Keystone Light
12    customers were essentially getting three extra beers for free. Keystone
13    Light sales spiked upward and the 15-pack was 2017’s number one
14    selling SKU. Customers realized the Keystone Light 15-pack provided
15    greater value than other economy beer brands and this catapulted
16    Keystone Light onto Nielsen’s list of the Top 10 Growth Brands.
17          47.   Second, MillerCoors sought to distinguish Keystone Light
18    from Busch Light and Natural Light visually. The economy beer section
19    of grocery stores had become stocked with such visually similar beer
20    that some customers started to believe the beers were interchangeable.
21    ABI had even updated Busch Light cans and outer packaging to adopt
22    mountain imagery that was similar to Keystone’s old design.
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                           COUNTERCLAIMS AND ANSWER
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                          Representation of 2012
 1                         Economy Beer Shelf
 2                     in Grocery and Liquor Stores

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14          48.   MillerCoors also heavily invested in consumer research to
15    learn more about its Keystone customers. MillerCoors discovered that
16    Keystone’s most loyal customers were not the young-legal-drinking-age
17    men that Keith Stone advertising had historically represented. Instead,
18    many Keystone drinkers were older blue-collar adults and women.
19    MillerCoors set out to refresh and modernize its cans, outer packaging,
20    and messaging so it would reach new customers without alienating its
21    most loyal fans. The new design was bold, active, and fun, but held on
22    to Keystone’s long embrace of the STONE and STONES nickname.
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                           COUNTERCLAIMS AND ANSWER
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 1                        2017 Keystone Light Can and Package
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10          49.   At no point was Stone Brewing or its beer a factor in
11    MillerCoors’ refresh of Keystone’s visuals. MillerCoors is not trying to
12    co-opt Stone Brewing’s image, and that would be counterintuitive to
13    Keystone’s message. Keystone is not a “sophisticated” or “artisanal”
14    beer and has never pretended to be. Rather, Keystone is a great
15    American-style light beer with a great always smooth taste at a great
16    affordable price.
17                            FIRST COUNTERCLAIM
18
              (Declaratory Judgment of MillerCoors’ Right to
19          use STONE and STONES to advertise Keystone Beer)
20          50.   MillerCoors restates and incorporates by reference its
21    allegations in Paragraphs 1–49.
22          51.   An actual and justiciable case or controversy exists between
23    MillerCoors and Stone Brewing regarding MillerCoors’ right to use
24    STONE and STONES to advertise Keystone beer.
25          52.   Keystone and its customers have long used the nicknames
26    STONE or STONES to describe Keystone beer.
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                            COUNTERCLAIMS AND ANSWER
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 1          53.     MillerCoors, itself and through its predecessor Coors, has
 2    continuously used STONE or STONES in its Keystone advertising since
 3    at least 1995.
 4          54.     MillerCoors, itself and through its predecessor, has
 5    continuously used STONES on Keystone’s outer packaging since at
 6    least 1995.
 7          55.     MillerCoors, itself and through its predecessor, has
 8    continuously used STONE or STONES on nationally distributed
 9    promotional materials since at least 1995.
10          56.     Counter-Defendant’s use of STONE to sell its beer did not
11    begin until 1996.
12          57.     MillerCoors’ continuous use of STONE and STONES
13    predates Counter-Defendant’s use.
14          58.     MillerCoors is the senior user of STONE in connection with
15    beer relative to Counter-Defendant.
16          59.     This Court can resolve the controversy by issuing a
17    declaration of the parties’ rights, status, and legal relations with respect
18    to MillerCoors’ use of STONE and STONES to advertise Keystone beer.
19          60.     MillerCoors is entitled to a judicial declaration of its right to
20    use STONE and STONES to advertise Keystone beer.
21                            SECOND COUNTERCLAIM
22            (Declaratory Judgment of Unenforceability of the
23            STONE Mark Against MillerCoors Due to Laches)

24          61.     MillerCoors restates and incorporates by reference its
25    allegations in Paragraphs 1–60.
26          62.     An actual and justiciable case or controversy exists between
27    MillerCoors and Stone Brewing regarding Stone Brewing’s right to
28    pursue this lawsuit after its long unreasonable delay.
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                              COUNTERCLAIMS AND ANSWER
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 1          63.   MillerCoors has continuously used STONE or STONES in its
 2    Keystone Advertising since at least 1995.
 3          64.   MillerCoors has continuously used STONE or STONES on
 4    each of its Keystone outer packaging since at least 1995.
 5          65.   Counter-Defendant was aware of MillerCoors’ use of
 6    “STONES” in 2010 and sent a letter to MillerCoors.
 7          66.   Despite its knowledge of MillerCoors’ use of STONES in
 8    2010, Counter-Defendant failed to bring legal action against
 9    MillerCoors until 2018.
10          67.   Counter-Defendant’s delay was unreasonable in light of the
11    analogous California statute of limitations period of three years.
12          68.   MillerCoors has suffered prejudice due to Counter-
13    Defendant’s delay. MillerCoors heavily invested in Keystone visuals
14    and marketing after 2010 that used STONE and STONES.
15          69.   MillerCoors is thus entitled to a declaratory judgement that
16    laches precludes Counter-Defendants from enforcing the STONE mark
17    against MillerCoors.
18                           THIRD COUNTERCLAIM
19                 (Declaratory Judgment of MillerCoors’
20        Non-Infringement Based on its Right to the STONE Mark)

21          70.   MillerCoors restates and incorporates by reference its
22    allegations in Paragraphs 1–69.
23          71.   An actual and justiciable case or controversy exists between
24    MillerCoors and Stone Brewing regarding MillerCoors’ infringement of
25    Stone Brewing’s STONE mark.
26          72.   MillerCoors has continuously used STONE or STONES in its
27    Keystone advertising since at least 1995.
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                             COUNTERCLAIMS AND ANSWER
     Case 3:18-cv-00331-BEN-MDD Document 19 Filed 04/10/18 PageID.101 Page 27 of 82




 1          73.   MillerCoors has continuously used STONES on Keystone’s
 2    outer packaging since at least 1995.
 3          74.   MillerCoors has continuously used STONE or STONES in
 4    Keystone advertising since at least 1995.
 5          75.   Counter-Defendant’s use of STONE to sell its beer did not
 6    begin until 1996. Counter-Defendant did not register its STONE mark
 7    until June 23, 1998, at least three years after MillerCoors’ first use.
 8          76.   MillerCoors’ continuous use of STONE predates Counter-
 9    Defendant’s use.
10          77.   MillerCoors is the senior user of STONE in connection with
11    beer relative to Counter-Defendant.
12          78.   This Court can resolve the controversy by issuing a
13    declaration of the parties’ rights, status, and legal relations with respect
14    to MillerCoors’ non-infringement of Stone Brewing’s STONE mark
15    based on its prior use.
16          79.   MillerCoors is entitled to a judicial declaration that its use of
17    STONE to advertise Keystone beer does not infringe Counter-
18    Defendant’s mark.
19                          FOURTH COUNTERCLAIM
20             (Declaratory Judgment of MillerCoors’ Exclusive
21             Right to Use the Stone Mark in the United States)

22          80.   MillerCoors restates and incorporates by reference its
23    allegations in Paragraphs 1–79.
24          81.   An actual and justiciable case or controversy exists between
25    MillerCoors and Stone Brewing regarding who owns the exclusive right
26    to use the mark STONES in the United States.
27          82.   MillerCoors has continuously used STONE or STONES in its
28    Keystone advertising since at least 1995.
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                            COUNTERCLAIMS AND ANSWER
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 1          83.   MillerCoors has continuously used STONES on Keystone’s
 2    outer packaging since at least 1995.
 3          84.   MillerCoors has continuously used STONE or STONES in
 4    nationally distributed promotional materials since at least 1995.
 5          85.   Counter-Defendant’s use of STONE to sell its beer did not
 6    begin until 1996.
 7          86.   Since 1995, MillerCoors has sold Keystone beer throughout
 8    the United States in packages using STONE.
 9          87.   Since at least 1996, Keystone advertisements using STONE
10    or STONES have been used in magazines and newspapers.
11          88.   Since at least 1995, Keystone promotional materials using
12    STONE or STONES have been distributed throughout the United
13    States.
14          89.   MillerCoors’ continuous national use of STONE in
15    connection with Keystone beer predates Counter-Defendant’s use.
16          90.   MillerCoors is the senior user of STONE in connection with
17    beer relative to Counter-Defendant.
18          91.   MillerCoors is entitled to a judicial declaration of its
19    exclusive common law right to use STONE in connection with the sale
20    of beer in the United States.
21                             PRAYER FOR RELIEF
22          WHEREFORE, MillerCoors requests entry of judgment in its
23    favor and against Stone Brewing Co. as follows:
24          A.    An Order declaring MillerCoors is the senior user to
25                Counter-Defendant and has the right to use STONE or
26                STONES in connection with marketing for beer;
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                            COUNTERCLAIMS AND ANSWER
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 1          B.    An Order declaring that laches precludes Stone Brewing
 2                from enforcing its STONE mark against MillerCoors’ use of
 3                STONE or STONES;
 4          C.    An Order declaring that MillerCoors’ use of STONE and
 5                STONES to advertise Keystone beer does not infringe
 6                Counter-Defendant’s mark;
 7          D.    An Order declaring that MillerCoors has the exclusive right
 8                to use the mark STONE and STONES in connection with
 9                beer sold in the United States.
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                            COUNTERCLAIMS AND ANSWER
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 1                         ANSWER TO THE COMPLAINT
 2                                   Introduction1
 3            1.    PLAINTIFF: Plaintiff Stone Brewing brings this trademark
 4    action to halt Defendant MillerCoors’s misguided campaign to steal the
 5    consumer loyalty and awesome reputation of Stone’s craft brews and
 6    iconic STONE® trademark. MillerCoors recently decided to rebrand its
 7    Colorado Rockies-themed “Keystone” beer as “STONE” −
 8    simultaneously abandoning Keystone’s own heritage and falsely
 9    associating itself with Stone’s well-known craft brews.
10            ANSWER: MillerCoors admits that Stone Brewing filed this
11    action alleging trademark infringement. MillerCoors denies the
12    remaining allegations in paragraph 1.
13            2.    PLAINTIFF: Since 1996, the incontestable STONE® mark
14    has represented a promise to beer lovers that each STONE® beer,
15    brewed under the Gargoyle’s watchful eye, is devoted to craft and
16    quality. Like all Gargoyles, it is slow to anger and seeks a respectful,
17    live-and-let-live relationship with peers and colleagues − even those
18    purveying beers akin to watered-down mineral spirits. But Stone and
19    the Gargoyle cannot abide MillerCoors’s efforts to mislead beer drinkers
20    and sully (or steal) what STONE® stands for.
21            ANSWER: Paragraph 2 is simply a Stone Brewing sales pitch,
22    and no response is required. To the extent a response is required,
23    MillerCoors denies that the “Gargoyle” is “slow to anger” or seeks a
24    “live-and-let-live relationship with peers and colleagues.” Quite the
25    opposite, Stone Brewing is well known in the beer industry for its
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27    1
          MillerCoors incorporates Stone Brewing’s headings and titles in its
28    Answer to Complaint solely for clarity.
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                             COUNTERCLAIMS AND ANSWER
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 1    bombastic hyperbole, pugnacious attitude, and for launching public
 2    insults at brewers small and large. Stone Brewing even proudly
 3    markets itself as “Arrogant Bastard,” and sells a whole line of beers
 4    under the “Arrogant Bastard” name. MillerCoors admits that Stone
 5    Brewing has obtained a federal trademark registration for the STONE
 6    trademark. MillerCoors denies that Stone Brewing’s STONE
 7    trademark is incontestable as to MillerCoors. MillerCoors states that
 8    MillerCoors has used STONE and STONES to sell Keystone beer since
 9    at least 1995, and prior to Stone Brewing’s first use:
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                      1995 Keystone Light Outer Packaging (folded flat)

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                            COUNTERCLAIMS AND ANSWER
     Case 3:18-cv-00331-BEN-MDD Document 19 Filed 04/10/18 PageID.106 Page 32 of 82


                                 1995 Date Closeup
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 9    MillerCoors denies that Stone Brewing takes actual issue with
10    Keystone beer, and states Stone Brewing is using this lawsuit as a
11    publicity stunt and a platform to market its beer. MillerCoors denies
12    any remaining allegations in paragraph 2.
13          3.    PLAINTIFF: STONE® beer is beloved by millions of beer
14    drinkers across America. Resolute and fearless, the brewery has always
15    stood for a philosophy and approach that defies the watered-down
16    orthodoxy of “Big Beer” companies and their fizzy yellow offerings. As
17    Big Beer has stumbled in recent years, the Gargoyle has thrived.
18    STONE® is one of the most recognizable and popular craft beer brands
19    in the U.S. and the global standard bearer for independent craft beer,
20    with sales in all fifty U.S. States and across five continents.
21          ANSWER: Paragraph 3 is a Stone Brewing sales pitch, and no
22    response is required. To the extent a response is required, MillerCoors
23    denies Stone Brewing’s attempt to anoint itself as the “global standard
24    bearer for independent craft beer.” MillerCoors denies that there is any
25    single definition of “craft beer” or “independent craft beer.” MillerCoors
26    states that Stone Brewing’s purported “philosophy” of opposition to “Big
27    Beer” is simply a marketing tool it uses to sell its products, and its
28    lawsuit is simply an extension of those marketing efforts. MillerCoors
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                            COUNTERCLAIMS AND ANSWER
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 1    admits that Stone Brewing beers today are sold in all fifty U.S. States
 2    and on five continents, but denies the remaining allegations in
 3    paragraph 3.
 4          4.    PLAINTIFF: Stone’s rise has not gone unnoticed by the
 5    largest beer company in America, MillerCoors. MillerCoors has long
 6    coveted the STONE® mark, but has been blocked from using STONE-
 7    centric branding because of Stone’s incontestable federal registration.
 8    In 2007, the U.S. Patent and Trademark Office forced MillerCoors to
 9    admit that using the mark “STONES” to sell Keystone would infringe
10    the STONE® trademark. Yet in 2017, MillerCoors marketing
11    executives decided to try again. Not long after Stone cofounder Greg
12    Koch publicly announced that the Gargoyle would never sell out,
13    MillerCoors began plotting to rebrand “Keystone” as “STONE” or “THE
14    STONE.” MillerCoors has since followed-through on that plan by
15    recently relabeling its products and launching “STONE”-centric
16    advertising.
17          ANSWER: MillerCoors denies the allegations in paragraph 4.
18    MillerCoors has not attempted to rebrand Keystone by relabeling its
19    products as STONE or THE STONE. Keystone products—including
20    after the 2017 visual refresh—have always been labeled with the
21    KEYSTONE trademark:
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                            COUNTERCLAIMS AND ANSWER
     Case 3:18-cv-00331-BEN-MDD Document 19 Filed 04/10/18 PageID.108 Page 34 of 82
                      2017 Keystone Light Can and Package

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 8    MillerCoors denies that it has been blocked from using STONE to sell
 9    Keystone beer, and states that MillerCoors has long used STONE and
10    STONES to market Keystone, MillerCoors’ use predates Stone
11    Brewing’s use, and Stone Brewing has not objected to MillerCoors’ use
12    over the past eight years. MillerCoors admits that in 2007, the U.S.
13    Patent and Trademark Office (“USPTO”) issued an office action related
14    to MillerCoors’ application to register the trademark STONES.
15    MillerCoors denies that the USPTO’s office action forced MillerCoors to
16    admit that its use of STONES to sell Keystone products would infringe
17    on Stone Brewing’s mark, and MillerCoors’ use does not infringe.
18          5.    PLAINTIFF: The Gargoyle does not countenance such
19    misdirection of consumers; nor does it support those who would disavow
20    their own Colorado mountain heritage to misappropriate another’s
21    ancestry. Stone accordingly brings this action to help usher Keystone
22    back to the Rockies. Should Keystone not willingly return, Stone
23    intends to seek expedited discovery in aid of a preliminary injunction,
24    as well as permanent injunctive relief, declaratory relief, damages, costs
25    and attorneys’ fees, among other remedies.
26          ANSWER: MillerCoors denies that it is misdirecting consumers.
27    MillerCoors denies that it disavowed its Colorado mountain heritage
28    and states that Colorado mountain imagery appears on the Keystone
                                       34
                            COUNTERCLAIMS AND ANSWER
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 1    package and Colorado is still one place Keystone is brewed. MillerCoors
 2    denies the remaining allegations in paragraph 5.
 3                                 THE PARTIES
 4          6.    PLAINTIFF: Plaintiff Stone Brewing Co., LLC (“Stone” or
 5    “Plaintiff”) is a pioneering craft brewery with its principal place of
 6    business at 2120 Harmony Grove Road, Escondido, California. Stone is
 7    a duly registered limited liability company organized under California
 8    law. Prior to 2016, Stone was organized as a California corporation
 9    named Koochen Vagners Brewing Co., d/b/a Stone Brewing Co. Stone is
10    the registered owner of the incontestable trademark registration for
11    STONE®.
12          ANSWER: MillerCoors denies that Stone Brewing has ever
13    represented itself as “Stone” instead of “Stone Brewing.” MillerCoors
14    denies allegations in paragraph 6 because it lacks knowledge or
15    information to form a belief as to the truth of the allegations.
16          7.    PLAINTIFF: Stone is informed and believes that Defendant
17    Molson Coors Brewing Company (“Molson Coors”) is a multinational
18    beer conglomerate that owns the Keystone, Coors, Miller, and Molson
19    beer brands, among others. Molson Coors is a Delaware Corporation
20    with its principal places of business at 1801 California Street, Suite
21    4600, Denver, Colorado.
22          ANSWER: MillerCoors admits that Molson Coors owns the
23    Keystone, Coors, Miller, and Molson beer brands only to the extent
24    Molson Coors owns these brands indirectly through ownership of
25    various subsidiaries who directly own the trademarks. MillerCoors
26    denies that Molson Coors is a conglomerate. MillerCoors admits the
27    remaining allegations in paragraph 7, except that Molson Coors’
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                            COUNTERCLAIMS AND ANSWER
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 1    principal places of businesses are Denver, Colorado and Montreal,
 2    Canada.
 3          8.    PLAINTIFF: Stone is informed and believes that Defendant
 4    MillerCoors LLC (“MillerCoors”) is the United States operating arm of
 5    Molson Coors. MillerCoors is a Delaware limited liability company with
 6    its principal place of business at 250 S. Wacker Drive, Suite 800,
 7    Chicago, Illinois. Upon information and belief, MillerCoors is a wholly-
 8    owned subsidiary of Molson Coors that markets the Keystone and
 9    Keystone Light beer brands in the United States.
10          ANSWER: MillerCoors admits that MillerCoors owns and
11    markets the Keystone and Keystone Light beer brands in the United
12    States. MillerCoors admits that MillerCoors is a wholly-owned
13    subsidiary of Molson Coors. MillerCoors admits it is a Delaware limited
14    liability company with its principal place of business at 250 S. Wacker
15    Drive, Suite 800, Chicago, Illinois. MillerCoors denies the remaining
16    allegations in paragraph 8.
17          9.    PLAINTIFF: Upon information and belief, Defendants
18    operate under a unified management structure controlled and directed
19    by Defendant Molson Coors Brewing Company. Each Defendant acted
20    in concert with the other Defendants and aided, abetted, directed,
21    approved, or ratified each act or omission alleged in this Complaint to
22    have been performed by Defendants.
23          ANSWER: MillerCoors denies the allegations in paragraph 9.
24          10.   PLAINTIFF: The true names of the Defendants sued as
25    Does 1 through 25, inclusive, are unknown to Stone, who therefore sues
26    these Defendants by such fictitious names. Stone will amend this
27    Complaint to allege the true names and capacities of these Defendants
28    when they are ascertained. Upon information and belief, these
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                            COUNTERCLAIMS AND ANSWER
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 1    fictitiously named Defendants were involved in the design,
 2    implementation, approval, and furtherance of the conduct complained of
 3    herein or received benefits from those transactions.
 4          ANSWER: Paragraph 10 is Stone Brewing’s characterization of
 5    its claims, and no response is required. MillerCoors denies the
 6    allegations to the extent that a response is required.
 7                         JURISDICTION AND VENUE
 8          11.   PLAINTIFF: This action arises and is brought under the
 9    Trademark Act, known as the Lanham Act, 15 U.S.C. §§ 1050, et seq,
10    and the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.
11          ANSWER: Paragraph 11 states a legal conclusion and no
12      response is required. MillerCoors admits the allegations to the extent
13      a response is required.
14          12.   PLAINTIFF: This Court has subject matter jurisdiction
15    pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338.
16          ANSWER: Paragraph 12 states a legal conclusion and no
17    response is required. MillerCoors admits the allegations to the extent a
18    response is required.
19          13.   PLAINTIFF: This Court possesses personal jurisdiction
20    over Defendant Molson Coors because Molson Coors regularly and
21    continuously transacts business in the State of California by advertising
22    and selling its products within the State and this District, including but
23    not limited to sales of infringing Keystone products at numerous
24    locations in the City and County of San Diego and this District.
25          ANSWER: Paragraph 13 states a legal conclusion and no
26    response is required. MillerCoors denies the allegation to the extent a
27    response is required, and states that Molson Coors does not sell
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 1    products in the United States and that the Court lacks personal
 2    jurisdiction over Molson Coors.
 3          14.   PLAINTIFF: This Court possesses personal jurisdiction
 4    over Defendant MillerCoors because MillerCoors regularly and
 5    continuously transacts business in the State of California by advertising
 6    and selling its products within the State and this District, including but
 7    not limited to sales of infringing Keystone products at numerous
 8    locations in the City and County of San Diego and this District.
 9          ANSWER: Paragraph 14 states a legal conclusion and no
10    response is required. To the extent a response is required, MillerCoors
11    admits that it advertises and sells its products, including Keystone
12    products, in California and the District. MillerCoors denies its
13    Keystone products are infringing.
14          15.   PLAINTIFF: Additionally, this Court possesses personal
15    jurisdiction over Defendants Molson Coors and MillerCoors because, on
16    information and belief, Defendants have targeted their tortious conduct
17    at the State of California and this District by selling or distributing
18    infringing Keystone products in this District and elsewhere.
19    Defendants either expected or reasonably should have expected that
20    their activities would cause harm to Stone in this District.
21          ANSWER: Paragraph 15 states a legal conclusion and no
22    response is required. To the extent a response is required, MillerCoors
23    admits that it advertises and sells its products, including Keystone
24    products, in California and the District. MillerCoors denies that it has
25    targeted tortious conduct and the State of California or the District.
26    MillerCoors denies that Molson Coors has engaged in activities in
27    California and the District, participated in the Keystone visual refresh,
28    and denies that the Court has personal jurisdiction over Molson Coors.
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 1          16.   PLAINTIFF: Venue is also proper in this district pursuant
 2    to 28 U.S.C. § 1391(b) because a substantial part of the events or
 3    omissions giving rise to this action occurred in this district. The
 4    Gargoyle’s primary abode is in this District, where Plaintiff Stone has
 5    its headquarters and regularly conducts business. Additionally,
 6    infringing Keystone products are offered for sale to consumers at
 7    numerous locations in the City and County of San Diego and this
 8    District.
 9          ANSWER: Paragraph 16 states a legal conclusion and no
10    response is required. To the extent a response is required, MillerCoors
11    admits that Keystone products are sold in San Diego and the District.
12    MillerCoors denies that its Keystone products are infringing.
13    MillerCoors denies the remaining allegations because it lacks
14    knowledge or information sufficient to form a belief as to the truth of
15    the remaining allegations.
16                          FACTUAL BACKGROUND
17          E.    Foundations of STONE®
18          17.   PLAINTIFF: Before it grew into an internationally
19    recognized craft beer brand, Stone had its origins in the creative
20    fermentation of California in the 1980s and ‘90s. Founders Steve
21    Wagner and Greg Koch first crossed paths in the effervescent Los
22    Angeles rock-and-roll music scene of the 1980s. Years later, they raised
23    a glass at brewing mecca U.C. Davis in Northern California, where both
24    had enrolled to channel their creative energies into brewing. In a series
25    of conversations, the future founders of STONE® discovered that they
26    shared a love of bold, interesting beers and fiery obsession with being a
27    part of the craft beer revolution.
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                            COUNTERCLAIMS AND ANSWER
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 1          ANSWER: Paragraph 17 is a Stone Brewing sales pitch, and no
 2    response is required. To the extent a response is required, MillerCoors
 3    denies the allegations in paragraph 17 because it lacks knowledge or
 4    information sufficient to form a belief as to the truth of the allegations.
 5          18.   PLAINTIFF: After a few years commiserating on the bleak
 6    state of the American beer market, the pair decided to take matters into
 7    their own hands. Greg and Steve made plans to open a brewery that
 8    would be defined by an unwavering commitment to quality and
 9    sustainability, holding true to the art of brewing bold, flavorful beers.
10    STONE® was born.
11          ANSWER: Paragraph 18 is a Stone Brewing sales pitch, and no
12    response is required. MillerCoors denies the allegations to the extent a
13    response is required.
14          19.   PLAINTIFF: Over the course of the next four years, Stone
15    signed a lease on a small warehouse that it turned into a brewery, went
16    from kegging its beers to having two bottling lines, and released its
17    most popular beer, STONE IPA®. From Stone’s earliest bottles to its
18    first website and delivery trucks, the STONE® mark has signified
19    Stone’s rebel culture of creativity, quality, and independence.
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                            COUNTERCLAIMS AND ANSWER
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 1          ANSWER: MillerCoors denies that Stone Brewing has ever
 2    represented itself as “Stone” as opposed to “Stone Brewing.”
 3    MillerCoors denies the remaining allegations in paragraph 19 because
 4    it lacks knowledge or information sufficient to form a belief as to the
 5    truth of the allegations. MillerCoors states the photo speaks for itself
 6    and no response is required. MillerCoors denies that the photo
 7    represents “Stone’s First Year of Production” to the extent a response is
 8    required because it lacks knowledge or information sufficient to form a
 9    belief as to the truth of the allegations.
10          20.   PLAINTIFF: From the start, Stone assiduously developed
11    and maintained its trademark and brand. Every Stone beer proudly
12    bears the registered incontestable trademark STONE®, which has been
13    registered with the U.S. Patent and Trademark Office since June 23,
14    1998 under U.S. Registration No. 2168093.
15          ANSWER: MillerCoors denies that Stone Brewing has ever
16    represented itself as “Stone” as opposed to “Stone Brewing.” Stone
17    Brewing’s website (www.StoneBrewing.com) currently states “THE
18    STONE BREWING BRAND MARK IS A REGISTERED
19    TRADEMARK.” MillerCoors admits that Stone Brewing registered a
20    STONE trademark with USPTO on June 23, 1998. MillerCoors denies
21    that Stone Brewing’s STONE trademark is incontestable as to
22    MillerCoors because of MillerCoors’ prior and continuous use of STONE
23    and STONES to sell Keystone beer. MillerCoors denies the remaining
24    allegations in paragraph 20 because MillerCoors lacks knowledge or
25    information sufficient to form a belief as to the truth of the remaining
26    allegations.
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                            COUNTERCLAIMS AND ANSWER
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 1          F.    STONE® Rolls On
 2          21.   PLAINTIFF: Sprinting into the 2000s, Stone grew in size
 3    and reach, overflowing its first facility. Stone entered a new phase
 4    when it planned a custom-built brewhouse tailored to fit Stone’s
 5    commitment to quality, sustainability, and craft.
 6          ANSWER: MillerCoors denies the allegations in paragraph 21
 7    because it lacks knowledge or information sufficient to form a belief as
 8    to the truth of the allegations.
 9          22.   PLAINTIFF: The new brewery opened in Escondido,
10    California in 2005, just before Stone’s ten-year anniversary. In a stroke
11    of innovation, Stone also opened the first Stone Brewing World Bistro &
12    Garden™, which shattered the “brewpub” mold with local, organic
13    ingredients and a seasonal menu constantly inspired by fresh, worldly
14    cuisine and the Slow Food movement.
15          ANSWER: MillerCoors denies the allegations in paragraph 22
16    because it lacks knowledge or information sufficient to form a belief as
17    to the truth of the allegations.
18          23.   PLAINTIFF: The stage was set for a craft brewing
19    revolution. Throughout the 2000s, Stone continued to win converts
20    with its bold, unorthodox beers and artisan philosophy. Other brewers
21    joined the fray, transforming the tastes of millions of beer drinkers who
22    had not known what they were missing. In droves, Americans began
23    turning away from incumbent Big Beer standards sold by the likes of
24    MillerCoors in favor of craft beers with more compelling brands and
25    flavors.
26          ANSWER: MillerCoors denies the allegation to the extent Stone
27    Brewing attempts to take sole credit for creating a “craft brewing
28    revolution” that only “[O]ther brewers joined.” Prior to Stone Brewing’s
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 1    founding, Coors created the iconic craft beer Blue Moon in 1995. Blue
 2    Moon is wildly more popular than any of Stone Brewing’s beers.
 3    MillerCoors denies beer drinkers have shifted in droves from
 4    purchasing Keystone beer to Stone Brewing’s beer. MillerCoors denies
 5    the remaining allegations in paragraph 23.
 6          24.   PLAINTIFF: The strength of Stone’s brand kept pace with
 7    its commercial success. On or about June 28, 2008, the USPTO
 8    accepted Stone’s Combined Declaration of Use and Incontestability for
 9    STONE®, rendering the mark incontestable as a matter of law.
10          ANSWER: Paragraph 24 states a legal conclusion and no
11    response is required. To the extent a response is required, MillerCoors
12    denies that Stone Brewing’s STONE trademark is incontestable as to
13    MillerCoors because of MillerCoors’ prior and continued use of STONE
14    and STONES to sell Keystone beer. MillerCoors denies any remaining
15    allegations in paragraph 24.
16          G.    STONE® Today
17          25.   PLAINTIFF: Today, Stone is the ninth-largest independent
18    craft brewer in the United States. Presiding over a rapid expansion of
19    the craft brewing industry from 800 breweries in 1996 to more than
20    5,000 today, Stone has maintained its commitment to true independent
21    craft and sustainability.
22          ANSWER: MillerCoors denies there is any single definition of
23    “craft brewer.” MillerCoors denies that Stone Brewing “presided over”
24    any rapid expansion and Stone Brewing’s attempt to take sole credit for
25    any expansion in the brewing industry. MillerCoors denies the
26    allegations in paragraph 25 because it lacks knowledge or information
27    sufficient to form a belief as to the truth of the allegations.
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                            COUNTERCLAIMS AND ANSWER
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 1           26.   PLAINTIFF: STONE® beers are sold in thousands of
 2    stores, bars, and restaurants throughout the country, including at
 3    major grocery stores and retailers. Instantly recognized by the
 4    STONE® name, STONE® enjoys exceptional customer loyalty and
 5    engagement, with a devoted fan base unrivalled by other brewers. A
 6    sampling of popular STONE® beers appears thus:
 7
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 9

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17           ANSWER: MillerCoors denies that Stone Brewing has a fan base
18    “unrivalled” by other brewers. MillerCoors denies the allegations in

19    paragraph 26 because it lacks knowledge or information sufficient to

20    form a belief as to the truth of the remaining allegations.

21           27.   PLAINTIFF: Stone and its products have been widely

22    lauded by national and international press, as well as connoisseurs and

23    critics. In 2010, Stone Brewing was named the “All-Time Top

24    Brewery on Planet Earth” by Beer Advocate magazine. Numerous

25    national and international publications have recognized STONE® as an

26    industry leader, including The New York Times, The Wall Street

27    Journal, The Economist, USA Today, and Time magazine, to name a

28    few.
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                            COUNTERCLAIMS AND ANSWER
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 1          ANSWER: MillerCoors denies the allegations in paragraph 27
 2    because it lacks knowledge or information sufficient to form a belief as
 3    to the truth of the allegations.
 4          28.    PLAINTIFF: Even as Stone has expanded its range of
 5    offerings with bold new flavors and numerous seasonal beers, the
 6    STONE® mark has remained constant, an unchanging identifier of
 7    STONE®’s reputation for quality and commitment to its craft.
 8          ANSWER: MillerCoors denies the allegations in paragraph 28
 9    because it lacks knowledge or information sufficient to form a belief as
10    to the truth of the allegations.
11          29.    PLAINTIFF: By virtue of these efforts, STONE® is
12    uniquely beloved among American and international beers, with a
13    passionate and loyal following among consumers and critics alike.
14    STONE® enjoys exceptional consumer engagement ratings on social
15    media, with scores nearly double the nearest craft brewer. Loyal
16    customers have even been known to commission tattoos of STONE® in
17    homage − and then travel to the Escondido brewery to proudly show off
18    their ink.
19          ANSWER: MillerCoors denies Stone Brewing’s allegation that its
20    beers are “uniquely beloved” above and beyond all other brewers’ beers.
21    MillerCoors denies the remaining allegations in paragraph 29 because
22    it lacks knowledge or information sufficient to form a belief as to the
23    truth of the allegations.
24          30.    PLAINTIFF: STONE®’s brand and commitment to
25    producing innovative artisan beer have helped it defy the status quo
26    and disrupt the American beer industry. In 2016, Stone produced more
27    than 10.6 million gallons of beer for sale to customers in all fifty U.S.
28    States.
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                            COUNTERCLAIMS AND ANSWER
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 1          ANSWER: MillerCoors denies that Stone Brewing has disrupted
 2    the American beer industry. MillerCoors denies the remaining
 3    allegations in paragraph 30 because it lacks knowledge or information
 4    sufficient to form a belief as to the truth of the remaining allegations.
 5          31.   PLAINTIFF: STONE®’s rise has placed it into direct
 6    competition with MillerCoors and its Big Beer associates in the U.S.
 7    beer market. In 2017, STONE®’s U.S. sales exceeded $70 million,
 8    placing it among the ten best-selling craft brewers in the country −
 9    including erstwhile “craft” breweries now operating under MillerCoors
10    and other beer conglomerates.
11          ANSWER: MillerCoors denies Stone Brewing’s products directly
12    compete in the same category with MillerCoors’ Keystone brand beers.
13    MillerCoors denies that there is a single definition of “craft breweries.”
14    MillerCoors denies that its craft breweries including Blue Moon
15    Brewery and San Diego-based Saint Archer are “erstwhile.”
16    MillerCoors denies the remaining allegations in paragraph 31 because
17    it lacks knowledge or information sufficient to form a belief as to the
18    truth of the allegations.
19          32.   PLAINTIFF: Stone also has taken its beer brewing passion
20    abroad. STONE® is now the first American craft brewer to
21    independently build, own and operate a brewery in Europe − in the
22    heartland of Germany where serious beer has been enjoyed for over a
23    thousand years. Doing so has strengthened Stone’s already diverse
24    international fan base, who happily drink STONE® hops throughout
25    the European Union and China, plus Canada, Australia, Singapore,
26    Taiwan, Puerto Rico, Panama and Brazil, among other nations. It is
27    fair to say that STONE® has become an inherently distinctive and
28    internationally recognized standard-bearer for American craft beer.
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                            COUNTERCLAIMS AND ANSWER
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 1          ANSWER: MillerCoors denies Stone Brewing’s attempt to anoint
 2    itself as the “standard-bearer for American craft beer.” MillerCoors
 3    denies that there is any single definition of “craft beer.” MillerCoors
 4    denies the allegations in paragraph 32 because it lacks knowledge or
 5    information sufficient to form a belief as to the truth of the allegations.
 6          H.    MillerCoors and Keystone’s Origins
 7          33.   PLAINTIFF: Defendant Molson Coors is a multinational
 8    beer conglomerate formed after a series of mergers involving Coors,
 9    Miller, and Canadian brewing giant Molson. In the United States,
10    Molson Coors operates through its subsidiary, Defendant MillerCoors.
11    (Collectively, Molson Coors and MillerCoors are referred to hereinafter
12    as “MillerCoors”). Among dozens of brands in its portfolio, MillerCoors
13    sells domestic lager brands Keystone and Keystone Light.
14          ANSWER: MillerCoors denies that Molson Coors “operates
15    through” MillerCoors. MillerCoors denies that “MillerCoors” is a proper
16    term to refer to Molson Coors and MillerCoors collectively. To the
17    extent any of Plaintiff’s allegations as to MillerCoors hereinafter also is
18    an allegation as to Molson Coors, that allegation is denied. MillerCoors
19    denies that Molson Coors is a conglomerate or formed “after a series of
20    mergers involving Coors, Miller, and Canadian brewing giant Molson.”
21    MillerCoors admits the remaining allegations in paragraph 33.
22          34.   PLAINTIFF: Since its inception, MillerCoors and its
23    predecessors have sold its “Keystone” sub-premium beer brand in cans
24    with a primary KEYSTONE mark and prominent imagery of the
25    Colorado Rocky Mountains. The name “Keystone” is the name of a
26    popular ski resort town founded in the 1970s in Colorado. The
27    mountain range depicted on the can is styled after the Wilson Peak
28    located in the Rockies.
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                            COUNTERCLAIMS AND ANSWER
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            ANSWER: MillerCoors admits the allegations in paragraph 34,
 7
        but denies that Keystone is a sub-premium beer brand. MillerCoors
 8
        denies that Keystone’s mountain imagery was styled after Wilson
 9
        Peak. MillerCoors states that MillerCoors continues to sell Keystone
10
        beer in cans with a primary KEYSTONE mark and a package
11
        featuring Colorado mountain imagery. MillerCoors admits the
12
        graphic is one prior representation of Keystone’s brand, but denies
13
        that the allegation is complete.
14
            35.   PLAINTIFF: In doing so, the “Keystone” name served to
15
      remind consumers of the brand’s Colorado roots and ties to its parent
16
      brand, Coors.
17
            ANSWER: MillerCoors denies the allegation in paragraph 35,
18
      and states KEYSTONE is a distinctive mark that reminds consumers of
19
      Keystone beer.
20
            36.   PLAINTIFF: Those ties apparently no longer bind so tight.
21
      After a series of corporate mergers and relocations, Keystone no longer
22
      is headquartered in its ancestral home in the Rocky Mountains. The
23
      brand is now part of a large “portfolio” of beers under the Molson-
24
      Miller-Coors conglomeration, with its U.S. base in Chicago, Illinois.
25
      This may explain the company’s new insistence on dropping the “Key-”
26
      from its brand in favor of “STONE” − in an effort to chase the craft
27
      market and Stone in particular.
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                                       48
                            COUNTERCLAIMS AND ANSWER
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 1          ANSWER: MillerCoors denies that it has dropped the “Key” from
 2    KEYSTONE. MillerCoors denies that it is attempting to “chase the
 3    craft market” or Stone Brewing by selling Keystone beer. MillerCoors
 4    admits that MillerCoors is headquartered in Chicago, Illinois.
 5    MillerCoors denies that Keystone is “headquartered” anywhere, as it is
 6    not a legal entity. MillerCoors denies that Keystone beer no longer has
 7    “ties” to the Rocky Mountains and states that Coors Brewing Company
 8    is located in Colorado and that Keystone beer is brewed in Golden,
 9    Colorado, as well as other locations. Every can and outer package of
10    Keystone beer includes the COORS BREWING COMPANY mark.
11    MillerCoors admits that Keystone is part of a portfolio of beers sold by
12    MillerCoors. MillerCoors denies the remaining allegations in
13    paragraph 36.
14          I.    MillerCoors’s “Big Beer” War Against Craft Beer
15          37.   PLAINTIFF: MillerCoors’ “Big Beer” brands like Keystone
16    have suffered most from the rise of tasty brews like STONE®. As craft
17    beer was on the rise from the late 1990s throughout the 2000s—
18    celebrating double-digit growth each year—Big Beer increasingly lost
19    market share. From 2011 to 2016, Keystone Light sales dropped more
20    than 25%. USA Today recently dubbed Keystone one of the “Beers
21    Americans No Longer Drink” in a December 2017 article.
22          ANSWER: MillerCoors admits Keystone Light sales dropped
23    from 2011 to 2016, but denies that Keystone has lost sales or market
24    share to Stone Brewing’s beers. MillerCoors denies that Americans no
25    longer drink Keystone beer. MillerCoors denies the remaining
26    allegations because it lacks knowledge or information sufficient to form
27    a belief as to the truth of the remaining allegations.
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 1          38.   PLAINTIFF: To stem these losses, MillerCoors has
 2    embarked on a plan to wrestle back market share. In addition to
 3    rebranding Keystone to emulate STONE® (discussed below),
 4    MillerCoors recently acquired Stone’s San Diego neighbor and former
 5    independent craft brewery, Saint Archer Brewing. MillerCoors itself
 6    has explained that this expansion is aimed to eliminate competition
 7    from independent brewers like Stone − efforts that the conglomerate
 8    attempts to disguise by using a supposed “craft” beer holding entity,
 9    Tenth and Blake Beer Company.
10          ANSWER: MillerCoors denies that it has rebranded Keystone to
11    emulate Stone Brewing’s claimed trademark. MillerCoors admits it
12    recently acquired Saint Archer Brewing located in San Diego, as well as
13    other breweries in the United States. MillerCoors denies that is
14    attempting to eliminate competition from “independent brewers like
15    Stone” Brewing. MillerCoors denies it is attempting to “disguise”
16    MillerCoors craft beer sales. MillerCoors denies the allegation and
17    states that Tenth and Blake Beer Company breweries are craft
18    breweries. MillerCoors denies the remaining allegations in paragraph
19    38.
20          39.   PLAINTIFF: Nothing about such activity is benign. Upon
21    these acquisitions, MillerCoors drops prices to supra-competitive rates
22    and ramps up production and distribution. In doing so, it aims to
23    undermine independent craft brewers’ ability to compete while
24    deceptively continuing to advertise its mass-produced brands as “craft”
25    beers.
26          ANSWER: MillerCoors denies the allegations in paragraph 39.
27    MillerCoors states that the small craft breweries that it has acquired
28    continue to operate independently. MillerCoors has invested millions
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                            COUNTERCLAIMS AND ANSWER
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 1    into each brewery, which has allowed the leadership at each brewery to
 2    expand their facilities and sales and create jobs in their local
 3    communities.
 4          J.    Keystone’s Rebranding as “STONE”
 5          40.   PLAINTIFF: MillerCoors’ renaming of “Keystone” as
 6    “STONE” marks an aggressive second phase of the company’s pincer
 7    move against craft beer and Stone in particular.
 8          ANSWER: MillerCoors denies the allegations in paragraph 40,
 9    and states that it has not renamed Keystone as “STONE.”
10          41.   PLAINTIFF: In April 2017, the company quietly announced
11    that Keystone was to be rebranded as “STONE”. New cans, boxes and
12    logos were formulated to emphasize “STONE” as a primary mark.
13          ANSWER: MillerCoors denies the allegations in paragraph 41.
14    MillerCoors states that Keystone cans, outer packaging, and logos
15    continue to use the KEYSTONE mark.
16          42.   PLAINTIFF: Since the release of the new design,
17    MillerCoors has launched a viral marketing campaign that touts
18    Keystone’s self-proclaimed new name of “STONE.” In recent months,
19    the brand’s Facebook and Instagram pages have been scrubbed of the
20    word “key” and filled with posts strategically placing Keystone beer
21    cans so that only “STONE” is prominently displayed to viewers, with
22    accompanying videos to match. These changes point unmistakably to a
23    concerted effort by MillerCoors to capitalize on the goodwill and
24    recognition associated with the STONE® mark and brand.
25          ANSWER: MillerCoors denies that it began to tout the STONE
26    nickname with the launch of a new campaign, and states MillerCoors
27    has used STONE and STONES in connection with Keystone prior to
28    Stone Brewing’s use. MillerCoors admits that it promotes Keystone in
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 1    social media, including in connection with the recent Keystone visual
 2    refresh. MillerCoors denies that “key” has been “scrubbed” from
 3    Keystone Facebook or Instagram pages. MillerCoors denies that its
 4    posts strategically placed Keystone cans so that only STONE is
 5    displayed. MillerCoors denies that it is attempting to capitalize on
 6    Stone Brewing’s alleged recognition and goodwill. MillerCoors denies
 7    any remaining allegations in paragraph 42.
 8                1.    Removing “KEY” from Keystone’s Can and
 9                Packaging
10          43.   PLAINTIFF: In a glaring departure from Keystone’s
11    traditional brand, MillerCoors has redesigned the label of Keystone
12    cans and cases to emphasize its shift to “STONE.”
13          ANSWER: MillerCoors denies the allegations in paragraph 43,
14    and states the refreshed Keystone can label continues to prominently
15    display the KEYSTONE and COORS BREWING COMPANY mark.
16          44.   PLAINTIFF: The new can abandons the high ground by
17    dropping Keystone’s signature mountain imagery. In its place, the can
18    now lacks any imagery at all and relies entirely on a large display of the
19    new name, “STONE.” The result would be unrecognizable to Keystone
20    drinkers of yore. In effect, MillerCoors has abandoned the KEYSTONE
21    mark and heritage in favor of a brand centered entirely on one word:
22    “STONE”:
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                            COUNTERCLAIMS AND ANSWER
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 1          ANSWER: MillerCoors denies that it “has abandoned the
 2    KEYSTONE mark.” MillerCoors denies the Keystone can “relies
 3    entirely on a large display of the new name, ‘STONE.’” MillerCoors
 4    admits the refreshed visuals for Keystone cans no longer include
 5    mountain imagery, but states that Keystone outer packaging retains
 6    mountain imagery. MillerCoors denies that Plaintiff’s orange “Re-
 7    Branded Can” is a true image of an actual KEYSTONE can or
 8    represents how Keystone cans appear in the marketplace. MillerCoors
 9    states that actual cans of Keystone brand beer prominently display the
10    KEYSTONE and COORS BREWING COMPANY mark:
11
12
                                Keystone Light Can
13
14
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23
24    MillerCoors denies that Plaintiff’s orange “Re-Branded Can” represents
25    how Keystone advertisements appear in the marketplace. MillerCoors
26    admits that Plaintiff’s “Old Can” is one graphic of an older Keystone
27    Light can, but denies that the allegation is complete. MillerCoors
28    denies any remaining allegations in paragraph 44.
                                       53
                            COUNTERCLAIMS AND ANSWER
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 1          45.   PLAINTIFF: Keystone’s new can design overtly copies and
 2    infringes the STONE® trademark. Indeed, MillerCoors has effectively
 3    admitted that this copying is intentional. Before the cans hit shelves,
 4    MillerCoors announced in an official blog post that it was launching “a
 5    can that plays up the “Stone” nickname.”
 6    (http://www.millercoorsblog.com/news/keystone-light-new-look-15-
 7    pack/). A new, self-proclaimed “nickname,” that is.
 8          ANSWER: MillerCoors denies that Keystone’s can copies or
 9    infringes Stone Brewing’s mark. MillerCoors denies that it has
10    “effectively admitted” any copying of Stone Brewing’s mark.
11    MillerCoors admits it published an official blog post at the identified
12    URL. The blog post speaks for itself and no response is required. To
13    the extent a response is required, MillerCoors denies that Stone
14    Brewing’s allegation is complete. MillerCoors denies Keystone’s
15    STONE or STONES nickname is new or self-proclaimed. MillerCoors
16    denies any remaining allegations in paragraph 45.
17          46.   PLAINTIFF: The new Keystone can displays STONE® as
18    its primary brand identifier, with no apparent hint of the traditional
19    KEYSTONE brand or its signature mountain theme:
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                                       54
                            COUNTERCLAIMS AND ANSWER
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 1          ANSWER: MillerCoors denies that refreshed Keystone cans
 2    display Stone Brewing’s mark as is its primary brand identifier.
 3    MillerCoors admits the refreshed Keystone can no longer contains
 4    mountain imagery, but states that Keystone outer packaging retains
 5    mountain imagery. MillerCoors denies that refreshed Keystone can
 6    visuals have “no apparent hint of the traditional KEYSTONE brand,”
 7    and states that allegation is demonstrably false based on a review of the
 8    actual can label, which displays the KEYSTONE and COORS
 9    BREWING COMPANY marks:
10
11
                                Keystone Light Can
12
13
14
15
16
17
18

19
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21
22
23    MillerCoors denies Plaintiff’s “Keystone’s New Can” graphic is a true
24    image of an actual Keystone can or represents how the can appears in
25    the marketplace. MillerCoors states that actual cans of Keystone beer
26    display the KEYSTONE and COORS BREWING COMPANY mark.
27    MillerCoors states that the purported blue and red cans are images of
28    the front of Keystone and Keystone Light outer packaging. “KEY”
                                       55
                            COUNTERCLAIMS AND ANSWER
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 1    directly proceeds “STONE” on Keystone’s outer packaging and the
 2    COORS BREWING COMPANY mark is also visible, as shown below:
 3
                Keystone Light Outer           Keystone Outer Packaging Front
 4
                Packaging Front Label                      Label
 5
 6
 7
 8
 9

10
11
12          47.    PLAINTIFF: The rest of the new Keystone packaging
13    conspicuously copies the STONE® mark. Indeed, the new Keystone 30-
14    packs omit virtually any reference to “Keystone” at all. Instead, the
15    packaging is designed to create a “wall of STONE” when displayed in
16    stores:
17
18

19
20
21
22
23
24
25
26
            ANSWER: MillerCoors denies that the refreshed Keystone outer
27
      packaging copies Stone Brewing’s mark. MillerCoors denies the “new
28
                                         56
                              COUNTERCLAIMS AND ANSWER
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 1    Keystone 30-packs omit virtually any reference to ‘Keystone’ at all,” and
 2    states that statement is demonstrably false based on a review of the
 3    actual outer packaging which uses the KEYSTONE mark. MillerCoors
 4    denies Plaintiff’s “Keystone’s Confusing Case Stacks” graphic is an
 5    accurate representation of how Keystone outer packaging appears in
 6    the marketplace. MillerCoors states that the image is not of Keystone
 7    Light’s year-round outer packaging, but an image of one panel of a
 8    special promotional package in one store that was only sold for a limited
 9    time. MillerCoors denies that the left image is a true representation of
10    how the case stack was to appear in stores, and upon information and
11    belief, the image excludes references to KEYSTONE that would be
12    displayed directly to the left and right of the border of the image.
13    MillerCoors denies the remaining allegations in paragraph 47.
14          48.   PLAINTIFF: Packaging and labels are critical to beer
15    marketing, ensuring that brands stand out to consumers perusing the
16    beer aisles in stores. The overwhelming emphasis of “STONE” on the
17    new Keystone packaging is a declaration that Keystone has abandoned
18    its roots in an effort to simply become “STONE” to consumers. But
19    there is already one − and only one − true STONE® in the market.
20          ANSWER: MillerCoors admits that outer packaging and labels
21    are one component of beer marketing. MillerCoors denies the
22    remaining allegations in paragraph 48.
23                2.    Keystone’s Deceptive Social Media Campaigns
24          49.   PLAINTIFF: At the same time, MillerCoors has also
25    launched an escalating advertising and social media attack to establish
26    STONE® as a new name for Keystone.
27          ANSWER: MillerCoors admits that it uses advertising and social
28    media to support Keystone. MillerCoors denies that its advertising is
                                       57
                            COUNTERCLAIMS AND ANSWER
     Case 3:18-cv-00331-BEN-MDD Document 19 Filed 04/10/18 PageID.132 Page 58 of 82




 1    an “attack” or that it is an attempt to establish Stone Brewing’s mark
 2    as Keystone’s new name, and states that MillerCoors and Coors have
 3    long used STONE and STONES in connection with Keystone, and
 4    MillerCoors’ and Coors’ use predates Stone Brewing’s use. MillerCoors
 5    denies the remaining allegations in paragraph 49.
 6          50.   PLAINTIFF: MillerCoors has instituted a social media blitz
 7    on its publicly available sites where it solely refers to Keystone as
 8    “STONE” and strategically places its product so that “STONE” is the
 9    most prominent, if not the only, graphic visible to viewers.
10          ANSWER: MillerCoors denies that it “solely” refers to Keystone
11    as STONE in social media advertising, and states that every social
12    media image Stone Brewing included in its complaint identifies
13    Keystone Light as the source of the image. MillerCoors denies the
14    remaining allegations in paragraph 50.
15          51.   PLAINTIFF: On Facebook, virtually every post on
16    Keystone’s page now refers to Keystone as STONE®, confirming that
17    there is nothing coincidental about the campaign. In the last several
18    weeks, MillerCoors has sharply escalated its use of STONE® on
19    Keystone’s social media accounts, with near-daily posts during the
20    holiday season. These social media posts feature cans deliberately
21    positioned to emphasize the terms “STONE” and “STONE LIGHT.”
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                                       58
                            COUNTERCLAIMS AND ANSWER
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 1          ANSWER: MillerCoors denies the allegations in paragraph 51.
 2    MillerCoors admits these images are screenshots of posts from Keystone
 3    Light’s Facebook page which speak for themselves and no response is
 4    required. To the extent a response is required, MillerCoors denies the
 5    allegations are complete or include the entire Facebook post and video.
 6    MillerCoors denies that Keystone’s Facebook posts are misleading, and
 7    states that these posts, as seen in the screenshots, clearly identify the
 8    source as Keystone Light.
 9          52.   PLAINTIFF: On Instagram, Keystone continues its
10    misappropriation with posts that take every opportunity to emphasize
11    the word “STONE,” including taglines such as: “The ‘Stone that keeps
12    on giving”; “Come bearing ‘Stones”; “Season’s greetings from the ‘Stone
13    family”; and “‘Stone sweet ‘Stone.” The emphasis on this new name,
14    “STONE,” is accompanied by images displaying the Keystone can with
15    “STONE” as the most prominent graphic.
16
17
18

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24
            ANSWER: MillerCoors denies that Keystone Light Instagram
25
        posts misappropriate Stone Brewing’s mark. MillerCoors admits the
26
        images are screenshots of Keystone Instagram posts. The Instagram
27
        posts speak for themselves, and no response is required. MillerCoors
28
                                       59
                            COUNTERCLAIMS AND ANSWER
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 1      denies that Keystone Light Instagram taglines are deceptive, and
 2      states that these posts, as the screenshots show, clearly identify the
 3      source as Keystone Light. MillerCoors denies any remaining
 4      allegations in paragraph 52.
 5          53.   PLAINTIFF: The videos that accompany the majority of
 6    Keystone’s recent Facebook and Instagram posts further evidence
 7    Keystone’s effort to seize the STONE® mark. The videos themselves
 8    use taglines that play up the “STONE” name, continue the strategic
 9    placement of the Keystone can so the viewer only notices “STONE,” and
10    conclude with STONE-centric messages such as the following:
11
12
13
14
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16
17
18
            ANSWER: MillerCoors denies the allegations in paragraph 53,
19
      and states that Keystone’s recent Facebook and Instagram posts, as the
20
      screenshots show, clearly identify the source as Keystone Light.
21
      MillerCoors admits the images are screenshots of Keystone Light
22
      Facebook videos. The videos speak for themselves and no response is
23
      required. To the extent a response is required, MillerCoors denies that
24
      the allegations are complete or that they include the entire Facebook
25
      video. MillerCoors denies that the Facebook videos are a willful use of
26
      Stone Brewing’s mark. MillerCoors denies any remaining allegations in
27
      paragraph 53.
28
                                       60
                            COUNTERCLAIMS AND ANSWER
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 1          54.   PLAINTIFF: Upon information and belief, MillerCoors has
 2    also purchased advertising on major websites, such as ESPN.com,
 3    referring to Keystone as “STONE”. Such mass advertising broadcasts
 4    the infringing “STONE” name beyond Keystone’s immediate social
 5    media audience to the general public at large.
 6
 7
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 9

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15
            ANSWER: MillerCoors admits that it has purchased advertising
16
      for the refreshed Keystone brand from major websites. MillerCoors
17
      denies the graphic represents a “Widespread ESPN Ad.” MillerCoors
18
      denies that the graphic is an actual ESPN banner advertisement.
19
      MillerCoors denies the remaining allegations in paragraph 54.
20
            55.   PLAINTIFF: Further, in recent months, Keystone launched
21
      and widely promoted a contest entitled “Hunt the STONE.” This
22
      contest has been publicized in physical ads and via social media,
23
      showcasing Keystone’s new can design and intent to abandon the name
24
      “Keystone” for its beer in favor of “STONE.” These new ads differ
25
      drastically from previous ads advertising the contests.
26
27
28
                                       61
                            COUNTERCLAIMS AND ANSWER
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 1
 2
 3
 4
 5
 6
 7
            ANSWER: MillerCoors admits it recently ran a “Hunt the
 8
        STONE” contest publicized on social media and advertised in stores.
 9
        MillerCoors denies that it produced physical print or radio ads for the
10
        campaign. MillerCoors denies the ads showcase an intent to abandon
11
        the name Keystone, and states the ads clearly identify the source as
12
        Keystone Light. MillerCoors admits that the graphics depict two ads
13
        for the Keystone “Can Hunt” and “Hunt the Stone” contests, but
14
        denies that the allegations are complete and states the “Hunt the
15
        Stone” image clearly identifies the source of the ad as Keystone Light.
16
        MillerCoors denies the ads differ drastically from previous advertising
17
        for the contest, such as the 2015 “HUNT FOR THE GREAT WHITE
18
        ‘STONE” contest, beyond the use of the refreshed Keystone visuals.
19
        MillerCoors denies the remaining allegations in paragraph 55.
20
            56.   PLAINTIFF: It is beyond doubt that any day now, Keystone
21
      intends to drop the “Key” prefix altogether.
22
            ANSWER: MillerCoors denies the allegation in paragraph 56.
23
                  3.    MillerCoors Is Brewing Confusion
24
            57.   PLAINTIFF: MillerCoors has long coveted the STONE®
25
      mark. For years, Stone’s incontestable registration has stood as an
26
      obstacle to Keystone’s marketing efforts, preventing use of “STONE”-
27
28
                                       62
                            COUNTERCLAIMS AND ANSWER
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 1    centric branding. Now, MillerCoors is willfully infringing the STONE®
 2    mark in a calculated attempt to dilute it beyond repair.
 3          ANSWER: MillerCoors denies the allegation in paragraph 57,
 4    and states that MillerCoors and Coors used the STONE and STONES
 5    nickname in connection with Keystone advertising prior to Stone
 6    Brewing’s use of STONE and continuously since.
 7          58.   PLAINTIFF: In September 2007, MillerCoors applied to
 8    register the mark “STONES” with the USPTO for use in connection
 9    with Keystone Light (U.S. Serial No. 77/284,994). The USPTO refused
10    to register the mark for the obvious reason that “STONES” was likely to
11    be confused with STONE® when used on beer. The USPTO’s office
12    action explicitly cited the incontestable STONE® registration as the
13    basis for its refusal, putting MillerCoors on formal notice of Stone’s
14    rights (in the unlikely event it was not aware of them already).
15          ANSWER: MillerCoors admits it filed an application to register
16    the mark STONES with the USPTO in September 2007. MillerCoors
17    admits the USPTO issued an office action against MillerCoors’
18    application that cited Stone Brewing’s mark. MillerCoors denies that
19    the USPTO refused to register the mark, and states MillerCoors did not
20    file a response to the USPTO’s office action. MillerCoors denies that
21    this put MillerCoors on formal notice that Stone Brewing had superior
22    rights to MillerCoors’ rights for STONE or STONES based on
23    MillerCoors’ prior and continuous use. MillerCoors denies the
24    remaining allegations in paragraph 58.
25          59.   PLAINTIFF: Tellingly, MillerCoors did not dispute the
26    USPTO’s determination that its “STONES” mark would infringe
27    STONE® when used in connection with Keystone Light. MillerCoors
28
                                       63
                            COUNTERCLAIMS AND ANSWER
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 1    instead abandoned its application, admitting that confusion with
 2    STONE® beer was likely.
 3          ANSWER: MillerCoors denies that MillerCoors did not dispute
 4    the USPTO’s determination or that it admitted any confusion with
 5    Stone Brewing’s mark was likely. MillerCoors admits that it did not file
 6    a response to the USPTO’s office action. MillerCoors denies the
 7    remaining allegations in paragraph 59.
 8          60.   PLAINTIFF: By the time MillerCoors launched its recent
 9    deceptive rebranding of Keystone, it had thus been on notice of Stone’s
10    rights in the STONE® mark for at least a decade.
11          ANSWER: MillerCoors denies that the refreshed Keystone
12    visuals are a “rebranding of Keystone” or deceptive. MillerCoors admits
13    it knew of Stone Brewing’s trademark, but denies that Stone Brewing
14    had superior rights to MillerCoors’ rights for STONE or STONES based
15    on MillerCoors’ (and Coors’) prior and continuous use. MillerCoors
16    denies the remaining allegations in paragraph 60.
17          61.   PLAINTIFF: MillerCoors and its executives were, and are,
18    keenly aware of the STONE® brand and its rich craft heritage. In fact,
19    MillerCoors has published articles on its own “Behind the Beer” Blog
20    recognizing Stone as a “nationally distributed brewer[]” and one of the
21    “biggest and most well-established craft brewers.” Against this
22    backdrop, Defendants’ current infringement is plainly willful.
23          ANSWER: MillerCoors denies that it has infringed Stone
24    Brewing’s mark or that any infringement was willful. MillerCoors
25    admits it knew of Stone Brewing. MillerCoors’ blog articles speak for
26    themselves and no response is required to the allegations regarding the
27    blog article. To the extent a response is required, MillerCoors denies
28
                                       64
                            COUNTERCLAIMS AND ANSWER
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 1    the allegations are complete. MillerCoors denies the remaining
 2    allegations in paragraph 61.
 3          62.   PLAINTIFF: By designing their own campaign to capture
 4    the STONE® mark and associated goodwill, MillerCoors seeks to
 5    mislead consumers: about the source of MillerCoors’s “Keystone,” the
 6    heritage of Stone’s beers, and whether STONE® is just another member
 7    of MillerCoors’s craft brew holding company.
 8          ANSWER: MillerCoors denies the allegations in paragraph 62.
 9    MillerCoors’ refresh of the Keystone visuals did not seek to “capture”
10    Stone Brewing’s mark. MillerCoors did not seek to mislead consumer
11    about the source of Keystone as COORS BREWING COMPANY is
12    displayed on every can and outer package of Keystone.
13          63.   PLAINTIFF: MillerCoors’s deliberate infringement is likely
14    to succeed in causing confusion. Not only does MillerCoors’s new
15    “STONE” branding copy the STONE® mark verbatim, but the
16    companies’ beers compete head-to-head in store aisles across the
17    country. In the high-velocity beer market, where consumers make
18    quick decisions between a proliferating array of brands, the effects of
19    even initial confusion are likely to be momentous.
20          ANSWER: MillerCoors denies that the refreshed Keystone
21    visuals are likely to cause confusion of any sort. MillerCoors denies
22    that it copied Stone Brewing’s mark “verbatim.” MillerCoors denies
23    that Keystone and Stone Brewing’s beers “compete head-to-head in
24    store aisles across the country.” MillerCoors denies that it has
25    infringed Stone Brewing’s mark and that any alleged infringement was
26    deliberate. MillerCoors denies any remaining allegations in paragraph
27    63 because it lacks knowledge or information sufficient to form a belief
28    as to the truth of any remaining allegations.
                                       65
                            COUNTERCLAIMS AND ANSWER
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 1          64.   PLAINTIFF: Confusion is just as likely outside of stores.
 2    The two brands use identical distribution and marketing channels, with
 3    STONE® and Keystone beers sharing the same distributors in many
 4    areas of the country. In the marketing arena, MillerCoors launched its
 5    rebranding offensive on social media − precisely the grassroots
 6    advertising medium that STONE® has used for years to cultivate
 7    support.
 8          ANSWER: MillerCoors denies that the refreshed Keystone
 9    visuals are likely to cause confusion. MillerCoors admits that Keystone
10    beer and Stone Brewing beer use the same distributors in some areas of
11    the country. MillerCoors denies the remaining allegations in paragraph
12    64.
13          65.   PLAINTIFF: Beyond its new “STONE” cans, MillerCoors is
14    admittedly seeking to establish “STONE” as a trademark and source
15    identifier for its “new Keystone” brand. If this gambit succeeds, a bar or
16    restaurant patron asking for a tasty STONE® brew will be just as likely
17    to receive Keystone’s watered-down imitation of beer in its place. The
18    STONE® mark has grown to its present strength because consumers
19    trust that STONE® will never let them down in this manner.
20          ANSWER: MillerCoors denies the allegations in paragraph 65.
21          66.   PLAINTIFF: In recent weeks, Stone has received consumer
22    inquiries showing that MillerCoors’s escalating infringement is indeed
23    brewing confusion in the marketplace. In December 2017, for example,
24    a consumer reached out to Stone to inquire about the brewery’s new
25    “STONE LITE” product − a non-existent beer that appears only in
26    MillerCoors’s deceptive advertising.
27          ANSWER: MillerCoors denies that it has infringed Stone
28    Brewing’s mark or that there is confusion in the marketplace.
                                       66
                            COUNTERCLAIMS AND ANSWER
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 1    MillerCoors denies the remaining allegations in paragraph 65 because
 2    it lacks knowledge or information sufficient to form a belief as to the
 3    truth of the allegations.
 4          67.   PLAINTIFF: Even such minor instances can have
 5    significant effects undermining Stone’s reputation for independence.
 6    Stone has earned a reputation for bold, high-quality artisan beers under
 7    the STONE® brand. Keystone has not. By copying STONE®,
 8    MillerCoors aims now to not only diminish Stone’s trademark rights but
 9    to capitalize upon STONE®’s artisanal reputation and image.
10          ANSWER: MillerCoors denies that it has copied Stone Brewing’s
11      mark. MillerCoors denies that it aims to diminish Stone Brewing’s
12      trademark rights or capitalize on Stone Brewing’s image. MillerCoors
13      denies the remaining allegations in paragraph 67.
14                                CLAIMS FOR RELIEF
15                     First Claim for Relief
16       FEDERAL TRADEMARK INFRINGEMENT − 15 U.S.C. § 1114
                      (As to All Defendants)
17
            68.   PLAINTIFF: Plaintiff incorporates by reference the facts
18
      and allegations set forth in each of the preceding paragraphs as though
19
      fully set forth herein.
20
            ANSWER: MillerCoors incorporates by references its answers set
21
      forth in each of the preceding paragraphs as if fully stated here.
22
            69.   PLAINTIFF: Plaintiff owns all right, title, and interest in
23
      the registered trademark STONE®, which it has continuously used in
24
      commerce since at least 1996.
25
            ANSWER: MillerCoors denies the allegations in paragraph 69.
26
            70.   PLAINTIFF: Through the conduct alleged above,
27
      Defendants’ unauthorized use in commerce of STONE® infringes
28
                                       67
                            COUNTERCLAIMS AND ANSWER
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 1    Plaintiff’s rights in the mark and violates 15 U.S.C. § 1114 because it
 2    renders Defendants’ products confusingly similar to the well-known
 3    STONE® mark and beers. Defendants’ unauthorized use of STONE®
 4    creates the erroneous impression in consumers’ minds that Defendants’
 5    Keystone products have been manufactured, approved, sponsored,
 6    endorsed, or guaranteed by, or are in some way affiliated with Plaintiff
 7    and the STONE® mark.
 8          ANSWER: MillerCoors denies the allegations in Paragraph 70.
 9          71.   PLAINTIFF: Defendants’ actions are a paradigmatic case of
10    infringement under the factors enunciated in AMF, Inc. v. Sleekcraft
11    Boats, 599 F.2d 341 (9th Cir. 1979), for at least the following reasons:
12                a.    Defendants’ copying of the STONE® mark is
13    intentional. Defendants have themselves admitted that “STONE”-
14    centric branding such as “STONES” is likely to confuse consumers when
15    used in connection with Keystone beer.
16                b.    The STONE® mark is inherently distinctive,
17    incontestable, famous, and commercially strong.
18                c.    Defendants’ infringing “STONE” mark is a verbatim
19    copy of Plaintiff’s genuine STONE® mark.
20                d.    The parties already compete directly in beer aisles,
21    coolers, bars, and restaurants across the country.
22                e.    The extent of the parties’ competition will only grow as
23    Stone continues its national and international growth.
24                f.    The parties share identical marketing and distribution
25    channels.
26                g.    The parties compete in a high-velocity market where
27    the impact of initial consumer confusion is likely to be high.
28
                                       68
                            COUNTERCLAIMS AND ANSWER
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 1                h.    Plaintiff has received consumer inquiries indicating
 2    that confusion is occurring in the marketplace.
 3                i.    Defendants’ intentional copying of Plaintiff’s mark is
 4    itself strong evidence that the infringing products are confusing
 5    consumers across the country.
 6          ANSWER: MillerCoors denies the allegations in paragraph 71.
 7          72.   PLAINTIFF: Defendants’ imitation and unauthorized use of
 8    STONE® is causing irreparable injury to Plaintiff by, inter alia,
 9    destroying consumers’ unique association of the STONE® mark with
10    Plaintiff’s products.
11          ANSWER: MillerCoors denies the allegations in paragraph 72.
12          73.   PLAINTIFF: Plaintiff has no adequate remedy at law for
13    Defendants’ misconduct. Unless Defendants are enjoined and
14    restrained from continuing their infringement, consumers will continue
15    to be confused and Plaintiff’s injuries will continue to occur.
16          ANSWER: MillerCoors denies the allegations in paragraph 73.
17          74.   PLAINTIFF: Plaintiff also is entitled to recover from
18    Defendants any gains, profits, and advantages as a result of
19    Defendants’ infringement, in an amount to be proven at trial.
20          ANSWER: MillerCoors denies the allegations in paragraph 74.
21          75.   PLAINTIFF: Defendants’ intentional and willful
22    misconduct renders this an “exceptional case,” entitling Plaintiff to
23    treble damages and attorney’s fees pursuant to 15 U.S.C. § 1117.
24          ANSWER: MillerCoors denies the allegations in paragraph 75.
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                                         69
                              COUNTERCLAIMS AND ANSWER
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 1                      Second Claim for Relief
 2          FALSE DESIGNATION OF ORIGIN − 15 U.S.C. § 1125(a)
                         (As to All Defendants)
 3
            76.   PLAINTIFF: Plaintiff incorporates by reference the facts
 4
      and allegations set forth in each of the preceding paragraphs as though
 5
      fully set forth herein.
 6
            ANSWER: MillerCoors incorporates by references its answers set
 7
      forth in each of the preceding paragraphs as if fully stated here.
 8
            77.   PLAINTIFF: Plaintiff owns all right, title, and interest in
 9
      the registered trademark STONE®, which it has continuously used in
10
      commerce since at least 1996.
11
            ANSWER: MillerCoors denies the allegations in paragraph 77.
12
            78.   PLAINTIFF: Through the conduct alleged above,
13
      Defendants’ unauthorized use in commerce of STONE® infringes
14
      Plaintiff’s rights in the mark and violates 15 U.S.C. § 1114 because it
15
      renders Defendants’ products confusingly similar to the well-known
16
      STONE® mark and beers. Defendants’ unauthorize use of STONE®
17
      creates the erroneous impression in consumers’ minds that Defendants’
18
      Keystone products have been manufactured, approved, sponsored,
19
      endorsed, or guaranteed by, or are in some way affiliated with Plaintiff
20
      and the STONE® mark. Such use constitutes a false designation of
21
      origin within the meaning of 15 U.S.C.§ 1125(a).
22
            ANSWER: MillerCoors denies the allegations in paragraph 78.
23
            79.   PLAINTIFF: On information and belief, Defendants chose
24
      to use the STONE® mark on Keystone products with the intent to cause
25
      confusion among consumers and to deceive them into believing that
26
      Defendants’ products are made by, endorsed by, or otherwise associated
27
      with Plaintiff or STONE® beers.
28
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 1          ANSWER: MillerCoors denies the allegations in paragraph 79.
 2          80.   PLAINTIFF: Defendants have profited from their unfair
 3    competition, and Plaintiff has suffered damages in amount to be proven
 4    at trial.
 5          ANSWER: MillerCoors denies the allegations in paragraph 80.
 6          81.   PLAINTIFF: Defendants’ intentional and willful
 7    misconduct in misleading U.S. consumers renders this an “exceptional
 8    case,” entitling Plaintiff to treble damages and attorney’s fees pursuant
 9    to 15 U.S.C. § 1117.
10          ANSWER: MillerCoors denies the allegations in paragraph 81.
11          82.   PLAINTIFF: Defendants’ infringement is causing
12    irreparable harm by confusing consumers and enabling Defendants to
13    unlawfully profit by trading off of Plaintiff’s STONE® mark. Plaintiff
14    will continue to suffer such harm unless Defendants’ infringing conduct
15    is enjoined by this Court.
16          ANSWER: MillerCoors denies the allegations in paragraph 82.
17                        Third Claim for Relief
18                TRADEMARK DILUTION − 15 U.S.C. § 1125(c)
                          (As to All Defendants)
19
            83.   PLAINTIFF: Plaintiff incorporates by reference the facts
20
      and allegations set forth in each of the preceding paragraphs as though
21
      fully set forth herein.
22
            ANSWER: MillerCoors incorporates by references its answers set
23
      forth in each of the preceding paragraphs as if fully stated here.
24
            84.   PLAINTIFF: The STONE® mark is distinctive and famous
25
      in that it is widely recognized by the general consuming public as a
26
      designation of the source of Plaintiff’s goods.
27
            ANSWER: MillerCoors denies the allegations in paragraph 84.
28
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 1          85.   PLAINTIFF: On information and belief, Defendants’
 2    unauthorized use of the STONE® mark began after the STONE® mark
 3    became famous.
 4          ANSWER: MillerCoors denies the allegations in paragraph 85.
 5          86.   PLAINTIFF: Defendants’ continued unauthorized use of
 6    STONE® mark is likely to cause injury to Plaintiff’s business
 7    reputation and/or the dilution of the distinctive quality of Plaintiff’s
 8    famous mark and brand.
 9          ANSWER: MillerCoors denies the allegations in paragraph 86.
10          87.   PLAINTIFF: Defendants’ acts have caused, and if not
11    enjoined will continue to cause, irreparable and continuing harm to
12    Plaintiff’s STONE® mark, business, reputation, and goodwill. Plaintiff
13    has no adequate remedy at law because monetary damages are
14    inadequate to compensate Plaintiff for the injuries caused by
15    Defendants.
16          ANSWER: MillerCoors denies the allegations in paragraph 87.
17                  Fourth Claim for Relief
18    TRADEMARK DILUTION − Cal. Bus. & Prof. Code § 14247, et seq.
                     (As to All Defendants)
19
            88.   PLAINTIFF: Plaintiff incorporates by reference the facts
20
      and allegations set forth in each of the preceding paragraphs as though
21
      fully set forth herein.
22
             ANSWER: MillerCoors incorporates by reference its answers set
23
      forth in each of the preceding paragraphs as if fully stated here.
24
            89.   PLAINTIFF: The STONE® mark is distinctive and famous
25
      in that it is widely recognized by the general consuming public of
26
      California, including in this District and its environs, and as a
27
      designation of the source of Plaintiff’s goods.
28
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 1          ANSWER: MillerCoors denies the allegations in paragraph 89.
 2          90.   PLAINTIFF: On information and belief, Defendants’
 3    unauthorized use of STONE® mark began after the STONE® mark
 4    became famous.
 5          ANSWER: MillerCoors denies the allegations in paragraph 90.
 6          91.   PLAINTIFF: Defendants’ continued unauthorized use of
 7    STONE® mark is likely to cause injury to Plaintiff’s business
 8    reputation and/or the dilution of the distinctive quality of Plaintiff’s
 9    famous mark and brand.
10          ANSWER: MillerCoors denies the allegations in paragraph 91.
11          92.   PLAINTIFF: Defendants’ acts have caused, and if not
12    enjoined will continue to cause, irreparable and continuing harm to
13    Plaintiff’s STONE® mark, business, reputation, and goodwill. Plaintiff
14    has no adequate remedy at law because monetary damages are
15    inadequate to compensate Plaintiff for the injuries caused by
16    Defendants.
17          ANSWER: MillerCoors denies the allegations in paragraph 92.
18                     Fifth Claim for Relief
19     UNFAIR COMPETITION − Cal. Bus. & Prof. Code § 17200, et seq.
                      (As to All Defendants)
20
            93.   PLAINTIFF: Plaintiff incorporates by reference the facts
21
      and allegations set forth in each of the preceding paragraphs as though
22
      fully set forth herein.
23
            ANSWER: MillerCoors incorporates by reference its answers set
24
      forth in each of the preceding paragraphs as if fully stated here.
25
            94.   PLAINTIFF: Defendants’ unauthorized use of the STONE®
26
      mark in a manner that is likely to confuse and deceive consumers is
27
28
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 1    unlawful, unfair, and/or fraudulent and constitutes unfair competition
 2    within the meaning of Cal. Bus. & Prof. Code § 17200.
 3          ANSWER: MillerCoors denies the allegations in paragraph 94.
 4          95.   Defendants have profited from their unfair competition, and
 5    Plaintiff has suffered damages in an amount to be proven at trial.
 6          ANSWER: MillerCoors denies the allegations in paragraph 95.
 7          96.   PLAINTIFF: Defendant’s infringement is causing
 8    irreparable harm by confusing consumers and enabling Defendant to
 9    unlawfully profit by trading off of Plaintiff’s STONE® mark. Plaintiff
10    will continue to suffer harm unless Defendants’ infringing conduct is
11    enjoined by this Court.
12          ANSWER: MillerCoors denies the allegations in paragraph 96.
13                     Sixth Claim for Relief
14           DECLARATORY JUDGMENT − 28 U.S.C. §§ 2201-2202
                       (As to All Defendants)
15
            97.   PLAINTIFF: Plaintiff incorporates by reference the
16
      allegations contained in the preceding paragraphs as if set forth fully
17
      herein.
18
            ANSWER: MillerCoors incorporates by reference its answers set
19
      forth in each of the preceding paragraphs as if fully stated here.
20
            98.   PLAINTIFF: Defendants’ ongoing use of “STONE” in
21
      connection with its Keystone beer products infringes the registered
22
      STONE® mark.
23
            ANSWER: MillerCoors denies the allegations in paragraph 98.
24
            99.   PLAINTIFF: Defendants are engaged in activities directed
25
      towards further unauthorized use of the STONE® Mark in commerce in
26
      a manner that is likely to cause confusion among the relevant public
27
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 1    that Defendants’ Keystone beers are affiliated with, or related to,
 2    Plaintiff’s STONE® beers.
 3          ANSWER: MillerCoors denies the allegations in paragraph 99.
 4          100. PLAINTIFF: As such, there is a substantial, immediate and
 5    justiciable controversy between the parties in that Defendants seek to
 6    use the STONE® mark in connection with beer, while Plaintiff contends
 7    that such use infringes and dilutes Plaintiff’s registered marks.
 8          ANSWER: MillerCoors denies the allegations in paragraph 100.
 9          101. PLAINTIFF: Plaintiff accordingly seeks in the alternative a
10    declaratory judgment that further use by Defendants of the STONE®
11    mark in connection with the sale, marketing or distribution of beer
12    would infringe Plaintiff’s rights in the STONE® Mark.
13          ANSWER: Paragraph 101 is Stone Brewing’s characterization of
14    its claims and no response is required. To the extent a response is
15    required, MillerCoors denies the allegations in paragraph 101.
16                            PRAYER FOR RELIEF
17          PLAINTIFF: WHEREFORE, Plaintiff Stone Brewing Co., LLC
18    prays that the Court order and/or issue the following relief:
19          A.    Preliminarily and permanently enjoin Defendants from using
20    the STONE® mark in connection with the sale, marketing or distribution
21    of beer.
22          B.    Award Plaintiff its amount of damages and/or the amount of
23    Defendants’ profits arising from Defendant’s unauthorized use of the
24    STONE® Mark in the United States, pursuant to 15 U.S.C. § 1117 and
25    under other applicable federal and/or state law.
26          C.    Award Plaintiff three times its actual damages according to
27    proof, as well as the costs of this action, in accordance with 15 U.S.C. §
28    1117 and under other applicable federal and/or state law.
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 1          D.      Find this action to be an “exceptional case” such that Plaintiff
 2    be awarded its reasonable attorneys’ fees in accordance with 15 U.S.C. §
 3    1117 and under other applicable federal and/or state law.
 4          E.      Declare that Defendants’ continued unauthorized use of the
 5    STONE® Mark in connection with the sale, marketing or distribution of
 6    beer would infringe Plaintiff’s rights in the mark.
 7          F.      Award Plaintiff such other and further relief as this Court
 8    deems equitable and proper.
 9          ANSWER: MillerCoors denies that Stone Brewing has raised any
10    valid claims entitling Stone Brewing to any relief, and denies that Stone
11    Brewing is entitled to any relief.
12                                GENERAL ANSWER
13      MillerCoors denies any allegation in the Complaint not specifically
14      admitted.
15                            AFFIRMATIVE DEFENSES
16          1.      By alleging the Affirmative Defenses set forth below,
17    MillerCoors does not agree or concede that it bears the burden of proof
18    or the burden of persuasion on any of these issues, whether in whole or
19    in part. For its Affirmative Defenses to Plaintiff’s Complaint,
20    MillerCoors alleges as follows:
21                        FIRST AFFIRMATIVE DEFENSE
22                             (Failure to State a Claim)
23          2.      The Complaint fails to state a claim upon which relief can be
24    granted.
25                       SECOND AFFIRMATIVE DEFENSE
26                                     (Prior Use)
27          3.      Stone Brewing’s claims made in the Complaint and the relief
28    sought are barred on the basis of MillerCoors’ (through its predecessor
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 1    Coors’s) prior use of STONE and STONES in connection with the
 2    advertisement and sale of Keystone beer.
 3          4.    MillerCoors (through its predecessor Coors) began selling
 4    Keystone beer nationally in 1989.
 5          5.    Keystone customers have long referred to Keystone beer by
 6    the nickname STONE or STONES.
 7          6.    Upon information and belief, MillerCoors (through its
 8    predecessor Coors) used STONE in Keystone advertising starting in at
 9    least 1992–1993.
10          7.    MillerCoors (through its predecessor Coors) sold cases of
11    Keystone beer labeled STONES starting in at least 1995.
12          8.    Stone Brewing was founded in 1996. Stone Brewing sold its
13    first keg of beer on July 26, 1996 and did not begin bottling its beer
14    until June 1997. Stone Brewing did not begin selling six packs of
15    bottled beer until April 7, 1999. Stone Brewing did not begin selling
16    cans of beer in the United States until June 2016.
17          9.    Upon information and belief, Stone Brewing’s beer sales
18    were limited to a small geographic area, such as the San Diego,
19    California area, for most of Stone Brewing’s early history. Stone
20    Brewing sold its beers for the first time on the East Coast on March 12,
21    2003, and only then at a limited tasting event at a bar in New York,
22    New York. Stone Brewing sold its beers for the first time in Chicago,
23    Illinois on April 1, 2010.
24          10.   MillerCoors (through its predecessor Coors) used STONE
25    and STONES to sell Keystone beer before Stone Brewing used STONE
26    to sell beer. MillerCoors not only used STONE and STONES first,
27    MillerCoors’ use was national in scope.
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 1                       THIRD AFFIRMATIVE DEFENSE
 2                                     (Laches)
 3           11.   Stone Brewing’s claims made in the Complaint are barred by
 4    laches due to Plaintiff’s unreasonable delay in bringing its claims
 5    despite full awareness of MillerCoors’ actions for at least eight years
 6    before bringing suit.
 7           12.   MillerCoors (through its predecessor Coors) has used
 8    STONE and STONES to sell Keystone beer prior to Stone Brewing’s
 9    use.
10           13.   In 2010, Stone Brewing objected to MillerCoors’ use of
11    “STONE, STONES, and HOLD MY STONES” to sell Keystone beer.
12    Stone Brewing’s attorney sent a cease and desist letter to MillerCoors
13    demanding MillerCoors stop using “STONE, STONES, and HOLD MY
14    STONES” to sell Keystone beer, and objected to MillerCoors to
15    registering the trademark HOLD MY STONES.
16           14.   MillerCoors’ attorneys responded by letter, explaining
17    MillerCoors’ (and Coors’) long history and use of STONE and STONES
18    to sell Keystone beer. MillerCoors’ attorneys made clear that
19    MillerCoors did not intend to modify its marketing campaigns for
20    Keystone or otherwise stop using STONE or STONES. Stone Brewing’s
21    attorneys did not voice any further objection to MillerCoors’ use of
22    STONE and STONES until Stone Brewing filed this Complaint.
23           15.   MillerCoors reasonably believed that Stone Brewing no
24    longer objected to MillerCoors’ use of STONE and STONES based on
25    MillerCoors’ long history and use of these terms. Since 2010,
26    MillerCoors has launched multiple marketing campaigns that centered
27    around the Keystone nicknames STONE and STONES.
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 1          16.   Stone Brewing unreasonably delayed asserting any claims it
 2    had by waiting eight more years to file a lawsuit. MillerCoors would be
 3    heavily prejudiced by Stone Brewing’s lawsuit now—eight years later—
 4    because MillerCoors reasonably relied on Stone Brewing’s lack of an
 5    objection and has heavily invested in multiple marketing campaigns
 6    that center around the Keystone nicknames STONE and STONES.
 7                     FOURTH AFFIRMATIVE DEFENSE
 8                               (Non-Infringement)
 9          17.   Stone Brewing’s claims made in the Complaint fail because
10    MillerCoors has not infringed any of Stone Brewing’s trademarks under
11    federal or state law.
12                      FIFTH AFFIRMATIVE DEFENSE
13                                  (Trademark)
14          18.   Stone Brewing’s claims made in the Complaint fail because
15    Stone Brewing cannot object to MillerCoors’ use of its KEYSTONE
16    trademark.
17          19.   Keystone beer cans and packaging are labeled with
18    MillerCoors’ KEYSTONE trademark.
19          20.   MillerCoors’ KEYSTONE trademark was registered in 1991
20    and reached incontestable status before Stone Brewing sold its first
21    STONE beer.
22          21.   MillerCoors has the exclusive right to use KEYSTONE in
23    connection with the sale of beer, and Stone Brewing cannot prevent
24    MillerCoors from using its KEYSTONE mark by alleging it infringes
25    Stone Brewing’s STONE mark.
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 1                       SIXTH AFFIRMATIVE DEFENSE
 2                     (Waiver, Acquiescence, and Estoppel)
 3          22.    Stone Brewing’s claims made in the Complaint fail because
 4    of waiver, acquiescence, and estoppel.
 5                     SEVENTH AFFIRMATIVE DEFENSE
 6                            (Statute of Limitations)
 7          23.    Stone Brewing’s claims made in the Complaint fail, in whole
 8    or in part, by the applicable statute of limitations.
 9                 RESERVATION OF ADDITIONAL DEFENSES
10          24.    MillerCoors reserves the right to assert any and all
11    additional defenses based on information learned or obtained during
12    discovery.
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 1                                       Respectfully submitted,
 2
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 3
 4    Dated: April 10, 2018              /s/ Natalie Hanlon Leh
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26
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 1                           CERTIFICATE OF SERVICE
 2
             I hereby certify that on this 10th day of April, 2018, I
 3
       electronically transmitted the foregoing Answer and Counterclaim to
 4
       the Clerk’s office using the CM/ECF system, which will send a notice of
 5
       filing to all counsel of record.
 6
 7                                              /s/ Natalie Hanlon Leh
 8                                              Natalie Hanlon Leh
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